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09:53:00      1
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              4                          UNITED STATES DISTRICT COURT
                                        NORTHERN DISTRICT OF ILLINOIS
              5                                EASTERN DIVISION
              6
              7    UNITED STATES OF AMERICA,                Case No. 1:09-cr-00673
              8      Plaintiff,                             Chicago, Illinois
                                                            June 2, 2011
              9             v.                              Trial
                                                            9:45 A.M. SESSION
             10
                   RON COLLINS,
             11
                     Defendant.
             12    -------------------------------
             13
             14                                 VOLUME 3-A
                                            TRANSCRIPT OF TRIAL
             15                   BEFORE THE HONORABLE VIRGINIA M. KENDALL
                                 UNITED STATES DISTRICT JUDGE, AND A JURY
             16
             17
             18    APPEARANCES:
             19
             20
                   For the Government:         Office of the U.S. Attorney
             21                                By: Halley B. Guren, and
                                                    Renai S. Rodney
             22                                219 S. Dearborn St., 5th Fl.
                                               Chicago, IL 60604
             23                                (312) 353-5300
             24
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   2
   3    APPEARANCES (Cont'd):
   4
   5
        For the Defendant:          Frank A. Rubino
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                                    Miami, FL 33131
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              1               (Resumed at 9:53 a.m.)
              2               (Whereupon the following discussion was had in open
09:53:11      3    court, outside the presence of the jury:)
09:53:11      4               THE CLERK: Case number 9CR673, USA versus Ron
09:53:27      5    Collins.
09:53:27      6               MS. GUREN: Your Honor, before we get started. I
09:53:27      7    just want to hand you up the corrected summary charts.
09:53:31      8    There's three copies -- there's three copies each to be
09:53:34      9    replaced for two of the summary charts.
09:53:36     10               THE COURT: All right. For the record, please,
09:53:38     11    everyone state your name.
09:53:39     12               MS. GUREN: Halley Guren and Renai Rodney on behalf
09:53:41     13    of the United States.
09:53:42     14               THE COURT: All right. Good morning.
09:53:43     15               MR. RUBINO: Your Honor, Frank Rubino on behalf of
09:53:46     16    Ron Collins. Ron Collins is present for today.
09:53:50     17               THE COURT: Good morning.
09:53:50     18               Good morning, Mr. Collins.
09:53:52     19               THE DEFENDANT: Good morning.
09:53:53     20               THE COURT: Are we ready to proceed?
09:53:54     21               MS. GUREN: We just have two issues to address with
09:53:58     22    your Honor. We wanted to discuss whether or not you wanted to
09:53:59     23    have Court on Friday. Both the defense counsel and I are
09:54:02     24    actually in favor of not having court, based on how quickly
09:54:04     25    we're moving and how fast we think the Government will be able
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09:54:07      1    to rest as well as a witness scheduling issue.
09:54:10      2               THE COURT: Whose witness scheduling issue?
09:54:11      3               MS. GUREN: There's a witness named Sean Geraghty,
09:54:15      4    who produced two summary judgments, based on voluminous
09:54:18      5    telephone records. He is scheduled to be out of town first
09:54:21      6    thing in the morning. Obviously, we would adjust our
09:54:24      7    presentation if you were going to have court tomorrow, but we
09:54:27      8    think it's very possible we could finish all of our witnesses
09:54:31      9    in a two-day period.
09:54:32     10               THE COURT: Meaning what, finish your case on Monday
09:54:34     11    or go to arguments on Monday?
09:54:36     12               MS. GUREN: I think it's possible that we would
09:54:37     13    finish our case on Monday, if we took off Friday, and I think
09:54:40     14    it's possible we could finish our case on Friday, if we had
09:54:43     15    court on Friday.
09:54:44     16               THE COURT: This is coming from the woman who told me
09:54:47     17    last Thursday that we absolutely could not and that we needed
09:54:52     18    ten full trial days?
09:54:53     19               MS. GUREN: Your Honor, I was overestimating. I
09:54:57     20    anticipated a much longer cross-examination. And as
09:55:01     21    Mr. Rubino told me, he had told me before he was a disciplined
09:55:04     22    cross-examiner and I should have listened to him.
09:55:07     23               THE COURT: I think you've been a disciplined
09:55:10     24    cross-examiner, Mr. Rubino. I won't take that away from you.
09:55:14     25               I will take off Friday, once again, for the benefit
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09:55:17      1    of the parties and just let you know that about an 80 percent
09:55:22      2    miscalculation on trial time is a difficulty for me. It opens
09:55:27      3    up what could have been -- as I told you, I am swamped with
09:55:32      4    trials and need every trial day that I can give and I can't
09:55:35      5    fill that any longer, but -- so I'll take off Friday, and
09:55:38      6    we'll start up again on Monday.
09:55:40      7               So anything else we need to address today?
09:55:42      8               MS. GUREN: Just briefly, we have transcript binders
09:55:45      9    that we expect the jury to be reviewing for this -- after this
09:55:49     10    witness. I don't know what your process is on passing them
09:55:53     11    out.
09:55:53     12               THE COURT: I'll give you permission to do it, and
09:55:56     13    then I just give them an instruction to look to me to when
09:56:00     14    they turn to the transcript.
09:56:00     15               MS. GUREN: Thank you, your Honor.
09:56:01     16               And then the very last thing is I just spoke briefly
09:56:04     17    to the defense counsel about Jorge Llamas, who has cooperated
09:56:07     18    in additional unrelated cases -- or an unrelated case to which
09:56:12     19    he doesn't have criminal exposure on that case and just to
09:56:15     20    limit any questioning and not have any questioning into that
09:56:18     21    cooperation, other than the fact of he's cooperating in other
09:56:21     22    cases and the defense counsel has agreed.
09:56:23     23               THE COURT: Oh, okay. You know, the issue would be
09:56:26     24    if you were to say that he was getting such a great deal, then
09:56:32     25    he would be able to -- that would open the door to some type
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09:56:39      1    of discussion about cooperation. Is he going to mention any
09:56:42      2    cooperation in other cases?
09:56:44      3               MS. GUREN: He's going to just briefly say that he
09:56:44      4    cooperated in an unrelated --
09:56:46      5               THE COURT: Oh, okay. But you're not going to go
09:56:48      6    into the other matter. And you're agreeing not to do so?
09:56:52      7               MR. RUBINO: Yeah, the names of the people he
09:56:52      8    cooperated on, things like that are not relevant to this case.
09:56:54      9    I agree with that.
09:56:55     10               THE COURT: Okay. All right. Are we ready?
09:56:56     11               MS. GUREN: Yes, your Honor.
09:56:57     12               THE COURT: Okay. Let's call the jury in.
09:57:00     13               MS. GUREN: Do you wish us to pass out the binders or
09:57:03     14    give them to the CSO?
09:57:04     15               THE COURT: No, you can pass those out once they are
09:57:08     16    there -- once the jury's here.
09:59:02     17               (The jury enters the courtroom.)
09:59:02     18               THE COURT: Please be seated.
09:59:06     19               You can take the stand again.
09:59:06     20               (Witness takes the stand.)
09:59:08     21               THE COURT: Folks, I hope you had a nice night last
09:59:10     22    night. It was a beautiful night in Chicago for the first time
09:59:13     23    in a while.
09:59:15     24               We're going to start up again with our evidence. And
09:59:19     25    yesterday we started with this agent.
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09:59:20      1               And, sir, do you know that you are still under oath?
09:59:24      2               THE WITNESS: Yes, your Honor, I do.
09:59:25      3               THE COURT: Okay. And you may continue, Ms. Rodney.
09:59:25      4                                        - - -
09:59:25      5               ERIC DURANTE, DIRECT EXAMINATION (Continued)
09:59:25      6    BY MS. RODNEY:
09:59:31      7    Q. Agent Durante, yesterday you testified that you had
09:59:32      8    directed Peter Flores to make recordings with his suppliers
09:59:33      9    and customers in November of 2008, correct?
09:59:36     10    A. Yes, I did.
09:59:36     11    Q. What date in November did you give Peter Flores those
09:59:39     12    instructions?
09:59:40     13    A. November 6, 2008.
09:59:43     14    Q. Was Peter Flores cooperating with law enforcement when you
09:59:46     15    gave him those instructions?
09:59:47     16    A. Yes, he was.
09:59:47     17    Q. Did you provide Peter Flores with any other instructions
09:59:50     18    regarding his cooperation?
09:59:52     19    A. Yes, I did.
09:59:52     20    Q. What did you tell him?
09:59:55     21    A. I explained to him how I wanted things done at that time,
09:59:59     22    and I told him that anything he did from that point on was to
10:00:03     23    be to -- to be directed by me -- through me.
10:00:06     24    Q. Did you maintain contact with him after that date?
10:00:09     25    A. Yes, I did.
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10:00:10      1    Q. By phone?
10:00:12      2    A. Yes, ma'am.
10:00:13      3    Q. Now, yesterday we left off with your review of Government
10:00:19      4    Exhibit [sic] 1A, 1-B, and 1-C. Were you able to determine a
10:00:23      5    date and time of the recorded calls on those exhibits?
10:00:28      6    A. Yes, I was.
10:00:30      7    Q. And how did you determine the date and time?
10:00:35      8    A. By the digital stamp that originated from Government
10:00:39      9    Exhibit 1, from the digital recorder, and also by after
10:00:43     10    analyzing the toll records.
10:00:45     11               MS. RODNEY: Your Honor, the Government wishes to
10:00:47     12    move into evidence Government Exhibit Recording 1 and
10:00:49     13    Government Exhibit 1A, 1-B, and 1-C.
10:00:53     14               MR. RUBINO: My previous objections.
10:00:56     15               THE COURT: Okay. They will be admitted.
10:00:58     16    BY MS. RODNEY:
10:00:59     17    Q. Agent Durante, were transcripts prepared on Government
10:01:05     18    Exhibits 1-A, 1-B, and 1-C?
10:01:07     19    A. Yes, they were.
10:01:08     20    Q. Were there occasions on the calls where you were not able
10:01:11     21    to hear all the words being spoken on 1-A, 1-B, and 1-C?
10:01:16     22    A. Yes, I was -- yes, there were.
10:01:18     23    Q. In cases where you could not make out the words, how is
10:01:21     24    that noted on the transcript?
10:01:22     25    A. As UI, unintelligible.
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10:01:25       1   Q. Now, I'd like to direct you to the red transcript binder.
10:01:35       2   Agent, if you could turn to the tab marked Transcript 1, do
10:01:46       3   you recognize that exhibit?
10:01:48       4   A. Yes, I do.
10:01:49       5   Q. And what is it?
10:01:51       6   A. It's a transcript of the recorded call between Peter
10:01:54       7   Flores and Ron Collins on November 25th, 2008.
10:01:58       8   Q. And how do you recognize that exhibit?
10:02:00       9   A. My initial's in the bottom right-hand corner.
10:02:03     10    Q. Prior to your testimony today, did you review the
10:02:05     11    transcript?
10:02:06     12    A. Yes, I did.
10:02:06     13    Q. Did you compare that transcript to the recording on
10:02:10     14    Government Exhibit 1A?
10:02:11     15    A. Yes, I did.
10:02:12     16    Q. Does Government Exhibit Transcript 1 correctly identify
10:02:15     17    the defendant as one of the speakers on the recorded phone
10:02:19     18    call on Government Exhibit 1A?
10:02:21     19    A. Yes, it does.
10:02:22     20    Q. And each time the defendant's voice is listed as a speaker
10:02:27     21    on the transcript, is it the same voice speaking the words?
10:02:30     22    A. Yes, it is.
10:02:32     23    Q. Does the transcript -- excuse me.
10:02:35     24                Does Transcript 1 correctly identify Peter Flores as
10:02:38     25    one of the speakers on the recorded phone call on Government
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10:02:42       1   Exhibit 1A?
10:02:42       2   A. Yes, it does.
10:02:43       3   Q. And each time Peter Flores' voice is listed as the speaker
10:02:47       4   on that transcript, is it the same voice speaking those words?
10:02:50       5   A. Yes, it is.
10:02:56       6               MS. RODNEY: Your Honor, may I publish Government
10:02:58       7   Exhibit T-Mobile 1 that's previously been admitted into
10:03:01       8   evidence?
10:03:02       9               THE COURT: You may.
10:03:23     10    BY MS. RODNEY:
10:03:24     11    Q. Agent, directing your attention to the screen to
10:03:29     12    T-Mobile 1, which should be in front of you, do you recognize
10:03:32     13    this exhibit?
10:03:33     14    A. Yes, I do.
10:03:33     15    Q. And what is it?
10:03:36     16    A. There's T-Mobile toll records for phone number
10:03:38     17    (773) 691-1702.
10:03:41     18    Q. How did you use that exhibit to determine a date and time
10:03:45     19    on the call in Government Exhibit 1A?
10:03:47     20    A. After analyzing the toll records, I just matched up the
10:03:51     21    phone calls that was [sic] on the toll records with the time
10:03:55     22    stamp on the CD that I received, Government Exhibit 1,
10:04:02     23    Recording 1.
10:04:02     24    Q. Were the time stamps on the CD recordings and the date and
10:04:06     25    time listed on the toll records the same?
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10:04:10       1   A. Yes. The date matched and the minutes matched. The hours
10:04:15       2   on -- the hours on the CD were two hours different from on the
10:04:19       3   toll records because of the time zone.
10:04:21       4   Q. Were the minute designations for the call the same between
10:04:25       5   the time stamp and the phone records?
10:04:27       6   A. Yes, the minutes were, correct.
10:04:29       7   Q. And which time zone is reflected on Transcript 1?
10:04:32       8   A. Pacific Daylight Time.
10:04:34       9   Q. Is that -- excuse me -- the same time zone on Government
10:04:38     10    Exhibit T-Mobile 1?
10:04:39     11    A. Yes, it is.
10:04:40     12    Q. Now, if you can next turn to the exhibit binder to the tab
10:04:45     13    marked Transcript 2, do you recognize that exhibit?
10:04:53     14    A. Yes, I do.
10:04:54     15    Q. And what is it?
10:04:55     16    A. It's a recorded -- it's a transcript of a recorded call
10:04:59     17    between Peter Flores and Ron Collins, November 29th of 2008.
10:05:02     18    Q. And what time is that call?
10:05:04     19    A. Approximately 1:59 Pacific Daylight Time.
10:05:07     20    Q. And how do you recognize this exhibit?
10:05:09     21    A. From my initials in the bottom right-hand corner.
10:05:12     22    Q. Prior to your testimony today, did you review this
10:05:15     23    transcript?
10:05:15     24    A. Yes, I did.
10:05:16     25    Q. Did you compare Transcript 2 to the recording of
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10:05:19       1   Government Exhibit 1B?
10:05:22       2   A. Yes, I did.
10:05:23       3   Q. Does Transcript 2 correctly identify the defendant as one
10:05:26       4   of the speakers on the recorded phone call on Government
10:05:30       5   Exhibit 1B?
10:05:30       6   A. Yes, it does.
10:05:32       7   Q. And each time the defendant's voice is listed as a speaker
10:05:35       8   on the transcript, is it the same voice speaking those words?
10:05:39       9   A. Yes, it is.
10:05:40     10    Q. Does Transcript 2 correctly identify Peter Flores as one
10:05:44     11    of the speakers on the recorded phone call on Government
10:05:49     12    Exhibit 1B?
10:05:49     13    A. Yes, it does.
10:05:50     14    Q. And each time Peter Flores' voice is listed as a speaker
10:05:53     15    on the transcript, is it the same voice speaking the words?
10:05:57     16    A. Yes, it is.
10:05:58     17    Q. Now, how did you determine the date and time of the call
10:06:02     18    on Government Exhibit 1B by using the toll records?
10:06:06     19    A. In the same manner I analyzed the toll records and matched
10:06:10     20    them up with the date stamp that was on the original CD,
10:06:15     21    Government Exhibit Recording 1, and matched up the date and
10:06:17     22    time stamp.
10:06:18     23    Q. So you found the call from Government Exhibit 1B on the
10:06:22     24    T-Mobile records?
10:06:23     25    A. Yes, I did.
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10:06:24       1   Q. And is this reflected on the exhibit shown in the screen
10:06:27       2   in front of you?
10:06:28       3   A. Yes, it is.
10:06:29       4   Q. Did you find that the time stamp from the recording and
10:06:33       5   the time shown in the phone records were the same?
10:06:37       6   A. Yes, I did.
10:06:38       7   Q. Were the hours the same?
10:06:40       8   A. The hours were off again by two hours, because of the time
10:06:42       9   zone, and the minutes were the same.
10:06:44     10    Q. And what time zone is reflected on Transcript 2?
10:06:47     11    A. Pacific Daylight Time.
10:06:50     12    Q. Now, turning next to the tab marked Transcript 3, do you
10:06:55     13    recognize that exhibit?
10:06:58     14    A. Yes, I do.
10:06:59     15    Q. And what is it?
10:07:00     16    A. It's a transcript of a recorded conversation between Peter
10:07:04     17    Flores and Ron Collins on November 30th of 2008 at
10:07:07     18    approximately 12:13 p.m. Pacific Daylight Time.
10:07:11     19    Q. And how do you recognize Transcript 3?
10:07:13     20    A. My initials in the bottom right-hand corner.
10:07:16     21    Q. Prior to your testimony today, did you review
10:07:18     22    Transcript 3?
10:07:20     23    A. Yes, I did.
10:07:21     24    Q. Did you compare that transcript to the recording on
10:07:23     25    Government Exhibit 1C?
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10:07:24       1   A. Yes, I did.
10:07:26       2   Q. Does the transcript marked Transcript 3 correctly identify
10:07:30       3   the defendant as one of the speakers on the recorded phone
10:07:33       4   call on Government Exhibit 1C?
10:07:35       5   A. Yes, it does.
10:07:36       6   Q. And each time the defendant's voice is listed as a speaker
10:07:39       7   on this transcript, is it the same voice speaking the words on
10:07:42       8   the call?
10:07:43       9   A. Yes, it is.
10:07:45     10    Q. Now, does Transcript 3 correctly identify Peter Flores as
10:07:48     11    the other speaker on the recorded phone call on Government
10:07:51     12    Exhibit 1-C?
10:07:52     13    A. Yes, it does.
10:07:53     14    Q. And each time Peter Flores' voice is listed as a speaker
10:07:57     15    on the transcript, is it the same voice speaking those words
10:08:01     16    on the call?
10:08:02     17    A. Yes, it is.
10:08:02     18    Q. And how did you go about verifying the date and time of
10:08:06     19    that call on 1-C?
10:08:08     20    A. In the same manner, by analyzing the toll records and
10:08:11     21    matching the date stamp on the CD with the toll records.
10:08:14     22    Q. And did you find the call on Government Exhibit
10:08:18     23    T-Mobile 1?
10:08:19     24    A. Yes, I did.
10:08:20     25    Q. And does the time stamp match the date and time listed on
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10:08:24       1   T-Mobile 1?
10:08:26       2   A. Yes, with the two hours' difference.
10:08:29       3   Q. And the minute designation was the same?
10:08:31       4   A. Yes, it was.
10:08:32       5   Q. And what time zone is reflected on Transcript 3?
10:08:35       6   A. Pacific Daylight Time.
10:08:38       7               MS. RODNEY: Your Honor, at this time may I read a
10:08:41       8   stipulation between the parties?
10:08:42       9               THE COURT: You may.
10:08:43     10                MS. RODNEY: It is hereby stipulated and agreed by
10:08:45     11    the United States of America by its attorney, Patrick J.
10:08:49     12    Fitzgerald, United States Attorney for the Northern District
10:08:52     13    of Illinois, and the defendant individually and by his
10:08:55     14    attorneys, that the following facts are true:
10:08:59     15                Each of the transcripts contained -- excuse me --
10:09:03     16    each of the transcripts contained in Government
10:09:06     17    Exhibits Transcripts 1, 2, and 3 is an accurate transcription
10:09:12     18    of the recorded conversations to which they respond --
10:09:16     19    correspond.
10:09:17     20                So stipulated, Counsel?
10:09:20     21                MR. RUBINO: Yes.
10:09:23     22    BY MS. RODNEY:
10:09:24     23    Q. Now, Agent Durante, if I could direct your attention back
10:09:28     24    to December of 2008, other than the recordings from Mexico,
10:09:34     25    did you enter any other items into evidence?
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10:09:37       1   A. Yes, I did.
10:09:38       2   Q. And what were those items?
10:09:39       3   A. Cellphones from Mexico.
10:09:41       4   Q. Now, if I could direct your attention to the exhibit in
10:09:43       5   front of you marked Government Exhibit Phone 1, do you
10:09:52       6   recognize that exhibit?
10:09:53       7   A. Yes, I do.
10:09:54       8   Q. How do you recognize it?
10:09:56       9   A. From my handwriting on the labels.
10:10:00     10    Q. And what is that exhibit?
10:10:05     11    A. I'm sorry. I didn't hear.
10:10:05     12    Q. What is that exhibit?
10:10:06     13    A. Exhibit 347, cellphone, Nokia cellphone.
10:10:11     14    Q. A cellphone from where?
10:10:13     15    A. Mexico.
10:10:14     16                MS. RODNEY: And for the record Government
10:10:16     17    Exhibit Phone 1 has previously been admitted into evidence.
10:10:19     18    BY MS. RODNEY:
10:10:20     19    Q. Agent, how did Government Exhibit Phone 1 first come into
10:10:23     20    your possession?
10:10:23     21    A. Special Agent Matthew McCarthy turned it over to me.
10:10:27     22    Q. And when did you receive it from Special Agent McCarthy?
10:10:31     23    A. December 8th.
10:10:32     24    Q. What year?
10:10:32     25    A. 2008.
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10:10:34       1   Q. And what condition was the exhibit when you received it?
10:10:37       2   A. It was this cellphone inside a backpack.
10:10:43       3   Q. Is the exhibit in front of you in substantially the same
10:10:47       4   condition now as it was when you first received it in December
10:10:50       5   of 2008?
10:10:51       6   A. Yes, it is.
10:10:52       7   Q. After you received the exhibit, did you alter the contents
10:10:55       8   of the exhibit in any way?
10:10:56       9   A. No, I didn't.
10:10:57     10    Q. What did you do with the exhibit after you received it
10:11:00     11    from Special Agent McCarthy?
10:11:02     12    A. I processed it for evidence and took it down to the
10:11:07     13    evidence vault.
10:11:09     14    Q. When you processed it for evidence, did you put it in that
10:11:14     15    bag before you --
10:11:14     16    A. Yes, I did.
10:11:15     17    Q. And is that indicated on the evidence tag on the bag?
10:11:18     18    A. It's currently inside the bag now, because it had been
10:11:21     19    opened, but, yes, it's inside the bag on the evidence sealing
10:11:26     20    sticker.
10:11:26     21    Q. You testified that you took the phone and put it in DEA's
10:11:30     22    evidence vault?
10:11:31     23    A. Yes, I did.
10:11:32     24    Q. Did you later remove Government Exhibit Phone 1 from DEA's
10:11:36     25    evidence vault?
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10:11:37       1   A. Yes, I did, on the same day I put it in.
10:11:40       2   Q. And when did you put it in the evidence vault?
10:11:43       3   A. December 18th, 2008.
10:11:46       4   Q. And you removed it that same day for what purpose?
10:11:49       5   A. I removed -- I logged it into the evidence vault and
10:11:52       6   removed it and took it to the digital lab for analysis.
10:11:57       7   Q. When you transferred it to the digital lab, was the phone
10:12:00       8   in a sealed condition?
10:12:01       9   A. Yeah. It was in the same condition in the plastic bag
10:12:05     10    sealed.
10:12:07     11    Q. And when you took it to the digital lab, what did you do
10:12:10     12    with it?
10:12:11     13    A. I logged it into the digital lab and turned it over.
10:12:16     14    Q. Did you regain custody of Government Exhibit Phone 1 from
10:12:19     15    the digital lab after December of 2008?
10:12:22     16    A. No, not from the digital lab, no.
10:12:25     17    Q. Okay. Did you regain custody of the phone at some point
10:12:30     18    after December 2008?
10:12:30     19    A. Yes, I did.
10:12:30     20    Q. When did you regain custody of it?
10:12:33     21    A. February 25th, 2009.
10:12:36     22    Q. And who did you receive the exhibit from?
10:12:38     23    A. From IA Karen Mastricola, Mastricola.
10:12:47     24    Q. And who is Karen?
10:12:48     25    A. She's an intelligence analyst, an analyst.
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10:12:54       1   Q. And when you received it from Karen Mastricola, was the
10:12:57       2   exhibit in the sealed condition?
10:13:02       3   A. Yes, it was.
10:13:02       4   Q. And what did you do with it when you received it from her?
10:13:04       5   A. The next day I returned it back to the evidence vault in
10:13:08       6   the same condition I received it, sealed.
10:13:12       7               MS. RODNEY: Now, your Honor, may I have one moment?
10:13:15       8               THE COURT: You may.
10:13:17       9               MS. RODNEY: Your Honor, I have no further questions
10:13:19     10    at this time.
10:13:19     11                THE COURT: Okay. Mr. Rubino?
10:13:23     12                                         - - -
10:13:23     13                        ERIC DURANTE, CROSS-EXAMINATION
10:13:23     14    BY MR. RUBINO:
10:13:33     15    Q. Good morning, Agent.
10:13:35     16    A. Good morning, sir.
10:13:36     17    Q. Sir, you told us that you had initially five months of
10:13:40     18    training in various forms of criminal investigation when you
10:13:44     19    started your career in the DEA?
10:13:46     20    A. Correct, correct.
10:13:47     21    Q. And you've received other training since then, I'm sure,
10:13:50     22    over the years you've been a DEA agent?
10:13:52     23    A. Correct, sir.
10:13:53     24    Q. Have you received any specialized training in voice
10:13:57     25    identification?
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10:13:58       1   A. Not in voice ID, no, sir.
10:14:00       2   Q. No training whatsoever in voice identification?
10:14:03       3   A. No specific training, no.
10:14:08       4   Q. Now, you told us that you spoke with Ron Collins, I think
10:14:13       5   you said, August '09; am I correct?
10:14:16       6   A. That is correct, sir.
10:14:17       7   Q. Okay. In August '09.
10:14:19       8               And you spoke with him about 45 minutes?
10:14:22       9   A. Yeah, approximately.
10:14:23     10    Q. Okay. So you listened. You and he had a conversation
10:14:28     11    almost two years ago for about 45 minutes?
10:14:30     12    A. Correct, correct.
10:14:32     13    Q. And his voice was so unique that you would never forget it
10:14:35     14    the rest of your life?
10:14:36     15    A. I won't say that. I haven't spoke to him since.
10:14:40     16    Q. You have not spoke to him since?
10:14:42     17    A. No, sir.
10:14:42     18    Q. So before you heard these tapes, if the phone rang and he
10:14:47     19    called your office and said, Hi, and started talking to you,
10:14:50     20    right away you would just know it was Ron Collins, wouldn't
10:14:53     21    you?
10:14:53     22    A. Repeat the question? I'm sorry.
10:14:55     23    Q. The phone -- if the phone rang in your office, before you
10:14:58     24    heard these tapes, and Mr. Collins was on the phone and
10:15:02     25    started talking, from a two-year-old 45-minute conversation
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10:15:06       1   you would know right away it was his voice?
10:15:09       2   A. Before I heard those tapes or talked to him?
10:15:12       3   Q. Yes.
10:15:12       4   A. I have no knowledge of his voice before I heard the
10:15:15       5   tape -- the recordings or before I talked to him in person.
10:15:18       6   Q. Now, you tell us that you were handling -- I think is the
10:15:22       7   word you used -- the cooperator speaking about Pedro Flores?
10:15:29       8   A. Yes.
10:15:29       9   Q. Is that a fair term?
10:15:31     10    A. Yes, I was handling the cooperating source.
10:15:33     11    Q. Explain to me what you mean by the word handling, please.
10:15:36     12    A. Just talking to him and trying to run the investigation
10:15:39     13    and controlling his movements -- or not controlling his
10:15:43     14    movements, but working with him in conjunction to gather
10:15:46     15    evidence for drug customers and drug suppliers to make a case.
10:15:51     16    Q. Now, this is -- you're speaking with him and dealing with
10:15:54     17    him as early as August '08; am I correct?
10:15:58     18    A. I initially talked to him on the phone in August '08
10:16:01     19    correct.
10:16:02     20    Q. And then you had subsequent conversations with him,
10:16:04     21    correct?
10:16:04     22    A. Yes, there's a minimum, but I continued to talk to him
10:16:08     23    over the phone before I met him in person.
10:16:10     24    Q. When was this?
10:16:11     25    A. November 6th, 2008.
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10:16:12       1   Q. November 6th.
10:16:13       2               Okay. Now, you were aware as early as August '08
10:16:16       3   that both Flores brothers were federal fugitives, were you
10:16:21       4   not?
10:16:21       5   A. Yes, I was, sir.
10:16:23       6   Q. And they are United States citizens, are they not? They
10:16:25       7   are not Mexicans?
10:16:27       8   A. Yes, sir, they are.
10:16:30       9   Q. Now, are you aware that the Flores brothers were dealing
10:16:36     10    drugs at the same time they were working with the DEA?
10:16:42     11    A. No, I was not aware -- I'm not aware of that. I have no
10:16:44     12    knowledge of that.
10:16:46     13    Q. Were you present when various witnesses have been
10:16:51     14    debriefed?
10:16:54     15                MS. RODNEY: Objection, your Honor, can he be a
10:16:56     16    little bit more specific, time frame and what witnesses?
10:16:58     17                THE COURT: Foundation objection is sustained. It's
10:17:02     18    vague.
10:17:04     19    BY MR. RUBINO:
10:17:05     20    Q. Do you know if any cooperating witness ever testified that
10:17:11     21    they picked up drugs -- or instructed to pick up drugs by the
10:17:15     22    Flores brothers as late as Thanksgiving '08?
10:17:19     23                MS. RODNEY: Objection, your Honor, same objection,
10:17:21     24    vagueness.
10:17:22     25                THE COURT: Sustained.
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10:17:26       1   BY MR. RUBINO:
10:17:27       2   Q. Do you know if any -- if the Flores brothers instructed
10:17:32       3   anyone to pick up drugs and deliver them in the Chicago area
10:17:37       4   during the period you were working with the Flores brothers?
10:17:41       5   A. Can you define the period? You mean after November 6th?
10:17:44       6   Q. August or November, I'm sorry.
10:17:46       7   A. I wasn't working with them August through November. I
10:17:48       8   talked to them on the phone, but I was -- my interaction
10:17:51       9   started with them mainly in [sic] November 6th.
10:17:53     10    Q. Okay. But August through November, do you know if they
10:17:56     11    were dealing drugs?
10:17:58     12    A. I can't speculate to what they were doing during this
10:18:01     13    time.
10:18:01     14    Q. Do you know or don't you, yes or no?
10:18:04     15    A. Do I know if they were dealing drugs?
10:18:06     16    Q. Do you know?
10:18:08     17    A. I had no knowledge of that.
10:18:09     18    Q. So today you have no knowledge that the Flores brothers
10:18:13     19    were involved in drug dealing from August through November
10:18:17     20    '08; is that your testimony?
10:18:19     21    A. Yeah, I have no direct knowledge that they're -- I know
10:18:22     22    they were providing information, but I didn't know what they
10:18:25     23    were doing besides that.
10:18:31     24    Q. You were not present when these recordings were made, were
10:18:36     25    you?
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10:18:36       1   A. No, sir, I wasn't.
10:18:37       2   Q. So you have no knowledge whatsoever as to any of the
10:18:41       3   details such as what kind of recorder was used, how it was
10:18:45       4   used, et cetera, would you?
10:18:46       5   A. How the recorder was used, no, sir, I don't.
10:18:49       6   Q. Was it turned off, turned on, was the entire
10:18:53       7   conversation -- that's what I'm asking.
10:18:54       8   A. No, sir, I don't.
10:18:55       9   Q. No knowledge and can't tell us a thing about how it was
10:18:58     10    recorded?
10:18:59     11    A. No, sir, I can't.
10:18:59     12    Q. Do you know even if it was recorded by holding the
10:19:02     13    recorder next to the phones or with it hard wired across with
10:19:06     14    plugs? Do you have any idea of that?
10:19:07     15    A. I have no knowledge of how they recorded those
10:19:10     16    conversations.
10:19:19     17    Q. Do you know if any scientific tests were done to determine
10:19:24     18    whose voices are on the phone calls?
10:19:28     19    A. No, they were not.
10:19:29     20    Q. They were not.
10:19:31     21                So basically when you make the statements, This is
10:19:34     22    the voice of Flores, This is the voice of Ron Collins, it's
10:19:38     23    nothing more than your opinion --
10:19:40     24    A. That is my opinion, correct.
10:19:42     25    Q. -- correct?
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10:19:43       1               And that opinion is not based upon any schooling,
10:19:46       2   training, or experience in voice identification?
10:19:49       3   A. Correct, sir, that's just my opinion.
10:19:53       4   Q. Would you agree that your opinion would be no better than
10:19:54       5   mine or anybody else in the jury's on that field?
10:19:59       6   A. That's my opinion and it would be the same as your
10:20:02       7   opinion, correct.
10:20:02       8   Q. You don't have any greater skill than the average person
10:20:06       9   in voice identification, do you?
10:20:08     10                MS. RODNEY: Objection, asked and answered, different
10:20:10     11    form of the question.
10:20:12     12                THE COURT: Sustained.
10:20:17     13    BY MR. RUBINO:
10:20:18     14    Q. How many conversations did Peter Flores record all told?
10:20:27     15                MS. RODNEY: Objection, your Honor, relevance and in
10:20:30     16    the alternative, vague.
10:20:32     17                THE COURT: To the extent that you're aware, you may
10:20:35     18    answer the question. Overruled.
10:20:37     19                THE WITNESS: Numerous I would say -- it's
10:20:42     20    approximate, it's probably between 50 and a hundred.
10:20:47     21    BY MR. RUBINO:
10:20:48     22    Q. How many of those do you claim involved Ron Collins?
10:20:55     23    A. Of his total recordings?
10:20:57     24    Q. Yes.
10:20:59     25                How many recordings do you believe the Floreses made
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10:21:03       1   with Mr. Collins?
10:21:06       2   A. Approximately seven.
10:21:13       3   Q. When was the first conversation recorded that you claim
10:21:18       4   was with Mr. Collins?
10:21:22       5   A. November 25th, 2008. Yeah, November 25th, 2008.
10:21:37       6   Q. And the three recordings that you have before you were all
10:21:41       7   made in Mexico, were they not, sir?
10:21:44       8   A. Correct, sir.
10:21:46       9   Q. Are they the only three recordings made in Mexico of
10:21:52     10    Mr. Collins?
10:21:52     11    A. With Mr. Collins, yes, sir, that I know of.
10:21:55     12    Q. Okay. And that's what, November -- I'm sorry -- what date
10:21:59     13    did you tell me?
10:21:59     14    A. The first one was November 25th, 2008.
10:22:02     15    Q. November 25th.
10:22:04     16                Okay. Now, on November 6th you told Peter Flores to
10:22:10     17    start recording conversations, correct?
10:22:15     18    A. Correct. I told him before that as well.
10:22:17     19    Q. Okay. You told him before November 6th?
10:22:19     20    A. Correct.
10:22:20     21    Q. How much before or when -- when did you first tell him to
10:22:24     22    record conversations is what I'm really looking for.
10:22:27     23    A. Back in August.
10:22:28     24    Q. You told him to start recording conversations in August?
10:22:31     25    A. Correct.
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10:22:32       1   Q. Okay. Do you know if he had any conversations with Ron
10:22:40       2   Collins before November -- from August to November 25th?
10:22:51       3   A. I'm not sure if he did or not. I have no knowledge of
10:22:57       4   that.
10:23:01       5   Q. So it would be your testimony that the reason the first
10:23:05       6   conversation was recorded with Collins on November 25th is
10:23:11       7   because there were no conversations between August and
10:23:14       8   November?
10:23:14       9               MS. RODNEY: Objection, your Honor, form of the
10:23:16     10    question.
10:23:16     11                THE COURT: Sustained.
10:23:19     12    BY MR. RUBINO:
10:23:20     13    Q. Were there any conversations with Ron Collins from Pedro
10:23:27     14    Flores between August and November?
10:23:28     15                MS. RODNEY: Objection, your Honor, asked and
10:23:30     16    answered.
10:23:30     17                THE COURT: All right. Overruled.
10:23:32     18    BY MR. RUBINO:
10:23:32     19    Q. You may answer.
10:23:33     20    A. I have no knowledge of that, sir.
10:23:50     21    Q. Did the DEA intercept a drug payment from Elliot Buckner?
10:24:02     22                MS. RODNEY: Objection, your Honor, beyond the scope.
10:24:04     23                THE COURT: Okay. I'm not sure of the relevance, so
10:24:08     24    I might need to have a sidebar for you to inform me of it.
10:24:12     25                MR. RUBINO: Yes, ma'am.
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10:24:13       1               THE COURT: Okay.
10:24:14       2               (Whereupon the following discussion was had at the
10:24:37       3   bench, outside the hearing of the jury:)
10:24:37       4               THE COURT: Okay. Is it -- I don't know what you're
10:24:39       5   doing with it, so if you could just let me know.
10:24:41       6               MR. RUBINO: Of course, your Honor. Your Honor, it's
10:24:43       7   my opinion from reading various EA-6s, et cetera, that Elliot
10:24:48       8   Buckner received a shipment of drugs from the Flores brothers
10:24:56       9   not from Mexico but the Flores brothers, as previously
10:24:58     10    testified instructed --
10:24:59     11                THE COURT: Okay.
10:24:59     12                MR. RUBINO: -- to go to the warehouse, get it,
10:25:02     13    deliver it to him. Buckner received it.
10:25:03     14                Then about two weeks later Buckner made a
10:25:07     15    hundred-thousand dollar payment back to the Flores brothers.
10:25:10     16                THE COURT: Okay.
10:25:10     17                MR. RUBINO: I understand that payment was
10:25:12     18    intercepted and then Buckner was arrested two days later.
10:25:16     19                THE COURT: Okay.
10:25:16     20                MR. RUBINO: Where I am going with that is that will
10:25:19     21    also show that during the period of the conversations being
10:25:23     22    recorded with this defendant that the Flores brothers were
10:25:27     23    sending drugs and receiving payments.
10:25:30     24                THE COURT: Oh, to show that while they were
10:25:33     25    cooperating with the Government they were still dealing drugs.
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10:25:36       1               MR. RUBINO: Yes, ma'am.
10:25:36       2               THE COURT: Okay. Response.
10:25:38       3               MS. RODNEY: Elliot Buckner is a defendant who was
10:25:41       4   arrested after a controlled buy. I don't know what DEA 6s
10:25:47       5   he's referring to or if he's referring to information he
10:25:51       6   received from his client about drugs delivered to Elliot
10:25:56       7   Buckner before a hundred-thousand dollar payment was made.
10:25:59       8               That aside, that doesn't lay any foundation as to how
10:26:02       9   this particular witness would know about that.
10:26:04     10                THE COURT: Well, we don't know. He was about to ask
10:26:07     11    when I had the sidebar.
10:26:08     12                So it would be relevant if the Flores brothers are
10:26:14     13    essentially working with this individual at his direction, and
10:26:16     14    he said he didn't know they were dealing drugs and that they
10:26:20     15    were doing illegal activity. Essentially that's so the
10:26:23     16    Government doesn't care that they are doing illegal activity
10:26:26     17    while they are taking the fruits of his work. That's fair
10:26:31     18    impeachment.
10:26:31     19                But if it's that they are doing it at the behest of
10:26:33     20    the Government, which I don't know --
10:26:34     21                MR. RUBINO: No, that's not my point.
10:26:36     22                THE COURT: No. Well, she's saying maybe he was,
10:26:39     23    because if this person has been arrested --
10:26:40     24                MR. RUBINO: I've been wrong before and may be wrong
10:26:43     25    again. I don't know --
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10:26:44       1               THE COURT: What's the basis --
10:26:45       2               MR. RUBINO: That's the only way I know to ask.
10:26:48       3               THE COURT: -- you said the DEA-6s reports.
10:26:50       4               MR. RUBINO: During -- going through various reports
10:26:52       5   and conversations with my client. I can't pin it down to one
10:26:56       6   honestly.
10:26:56       7               THE COURT: Oh, okay.
10:26:57       8               MS. GUREN: Your Honor, there's just a broader
10:26:59       9   objection that we would like to raise regarding getting into
10:27:01     10    all this cooperation with the Flores brothers.
10:27:03     11                It is true that it's out there that they cooperated,
10:27:06     12    that's how we were able to make these recorded calls. We have
10:27:09     13    specifically said to the defendant and to you on the record
10:27:12     14    that we are not trying to use their statements as
10:27:15     15    coconspirator statements for the truth of the matter.
10:27:16     16                So all impeachment as to them and benefits they
10:27:19     17    received is not relevant to this case.
10:27:21     18                THE COURT: See, but that's not true, because what's
10:27:24     19    relevant is there's the DEA working with drug dealers and
10:27:29     20    cooperating with them and allowing them to be free, allowing
10:27:33     21    them to do their illegal trade while they are working to
10:27:37     22    arrest others, it shows that they are biased, for some reason,
10:27:43     23    against Mr. Collins as opposed to others, that they are
10:27:47     24    arbitrarily choosing which dealers to prosecute, and it's
10:27:52     25    really -- it goes -- it's impeachable material.
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10:27:57       1               MS. RODNEY: Well, your Honor, a previous DEA agent,
10:28:01       2   McCarthy, Matt McCarthy, already testified that he suspected
10:28:05       3   that the Flores brothers were continuing to engage in drug
10:28:08       4   trafficking.
10:28:09       5               THE COURT: Right, he did.
10:28:10       6               MS. RODNEY: So at this point it's become cumulative.
10:28:13       7   I mean, I don't know what Agent Durante --
10:28:14       8               THE COURT: I think he's probably going to say he
10:28:17       9   doesn't know, my guess is, based upon his answer.
10:28:24     10                I think that what -- what I don't want to do is have
10:28:28     11    a frolic and detour on all these other drug investigations,
10:28:32     12    which is why we keep coming up to this same sidebar issue.
10:28:36     13                What I do want to do is allow you to have your
10:28:39     14    impeachment ability to ask him whether the brothers were
10:28:44     15    engaging in this activity. And I don't know how you're going
10:28:49     16    to prove up if he answers no or yes to this, since you don't
10:28:55     17    know where this information is coming from.
10:28:57     18                MR. RUBINO: Let's say he says yes. Then the next
10:29:01     19    question is, the Flores brothers have been instructed to
10:29:03     20    record conversations. But obviously they are not recording
10:29:08     21    their own drug conversations when they are sending their
10:29:13     22    people to the warehouse to pick up drugs, when they are
10:29:16     23    calling the drug buyer and saying meet the person.
10:29:19     24                All the things that were testified to by the two
10:29:22     25    previous informers that have testified yesterday. Both of
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10:29:25       1   them testified that they went to the warehouse, picked up
10:29:28       2   drugs and delivered them to my client, all the way up to a
10:29:32       3   week before Thanksgiving --
10:29:32       4               THE COURT: Okay. But now let's talk about that,
10:29:35       5   because where does that bring you, though, for a closing
10:29:38       6   argument?
10:29:38       7               Ladies, listen.
10:29:39       8               I mean, is it a jury nullification issue then?
10:29:42       9   Aren't you essentially saying that it is an Executive Branch
10:29:45     10    decision, that they put their scopes upon my guy and not on
10:29:49     11    those other guys?
10:29:50     12                There's a difference between an argument that says
10:29:52     13    that the dirty drug cooperator, who's sitting on the stand, is
10:29:56     14    getting a break while the one in the courtroom is not.
10:30:00     15    Because then you're impeaching how he's motivated to do what
10:30:04     16    he's doing.
10:30:04     17                But when you start attacking them for not
10:30:09     18    prosecuting -- or recording the conversations, which might
10:30:11     19    lead to further prosecution, then you're really attacking an
10:30:14     20    area which is an Executive Branch decision as to why they
10:30:18     21    turned their scopes on Ron Collins and not on them.
10:30:22     22                MR. RUBINO: Conversely maybe the Flores brothers
10:30:24     23    were good little informants and the two witnesses who said
10:30:27     24    they delivered in November were lying, because they never did,
10:30:30     25    because the Floreses stopped their activities in August.
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10:30:33       1               If the Floreses stopped their activities in August
10:30:37       2   then a lot of the testimony --
10:30:37       3               THE COURT: But that's all hearsay, and we don't have
10:30:39       4   that -- that's like a collateral impeachment issue.
10:30:43       5               MS. GUREN: And --
10:30:43       6               THE COURT: I see where you're headed, but there is a
10:30:45       7   distinction between the two types of cross. The one type is
10:30:48       8   very fair game, which is that once that guy is on the stand
10:30:52       9   that is getting that benefit --
10:30:53     10                MR. RUBINO: I understand.
10:30:53     11                THE COURT: -- it makes complete sense.
10:30:55     12                But when you start now cross-examining this agent
10:30:58     13    about whether he knew whether, for example, these guys were
10:31:01     14    recording every conversation and if those conversations were
10:31:04     15    used for an indictment or in the grand jury or to charge them
10:31:11     16    versus whether they were doing so for Mr. Collins, now we are
10:31:16     17    in what was a jury nullification issue in the pretrial
10:31:20     18    motions -- in the final pretrial conference, which you agreed
10:31:23     19    you weren't going to do --
10:31:24     20                MR. RUBINO: I wouldn't dare go there.
10:31:27     21                THE COURT: -- which is questions what the Executive
10:31:28     22    Branch's motivation is.
10:31:29     23                But isn't that what you're doing?
10:31:30     24                MR. RUBINO: No. One of two people's [sic] wrong.
10:31:34     25    Either the two informants so far who have testified that they
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10:31:37       1   picked up drugs and delivered them as late as the day before
10:31:41       2   Thanksgiving --
10:31:41       3               MS. RODNEY: That is incorrect.
10:31:43       4               MS. GUREN: Well -- and I also think that what you're
10:31:44       5   saying is a very skewed perspective.
10:31:47       6               They were cooperating and providing information on
10:31:48       7   their suppliers. They provided information on their
10:31:51       8   customers. They are actively still part of this in the sense
10:31:54       9   of the fact that there is a much larger DEA investigation into
10:31:57     10    all sorts of customers, all sorts of suppliers with the Flores
10:32:01     11    brothers' help.
10:32:01     12                I think exactly your point about the fact that you've
10:32:04     13    got to get into this huge detour into all of the investigation
10:32:07     14    that's being done, all of the use of their investigation to
10:32:11     15    understand what -- exactly what's going on in August and
10:32:14     16    November and it's not relevant, because it doesn't really
10:32:17     17    matter to Ron Collins' case.
10:32:19     18                It's not a -- I don't think that you have to view it
10:32:21     19    as either the cooperators are lying or the Flores brothers
10:32:25     20    were still delivering. It's not an either or thing, because
10:32:28     21    they were working with law enforcement. They were continuing
10:32:30     22    their business as part of this ongoing figuring out how to
10:32:35     23    work with DEA and gathering evidence for these longer
10:32:39     24    investigations, which ended up prosecuting the crew members
10:32:42     25    who were doing these deliveries and the customers.
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10:32:44       1               THE COURT: I think the problem is as I have outlined
10:32:49       2   it, that I think that this area of cross is an impermissible
10:32:53       3   line that suggests that the Executive Branch made decisions
10:32:56       4   that weren't appropriate and that it was targeting your client
10:33:01       5   as opposed to the Flores brothers, which would be also a
10:33:05       6   misstatement of what happened, because they did, of course,
10:33:07       7   have scopes on the Flores brothers.
10:33:09       8               And I think that it's also an improper impeachment of
10:33:13       9   this particular man on the stand not just for the Executive
10:33:17     10    Branch issue, but also because he is not the one that's making
10:33:21     11    that decision or that call and he's also the one not getting
10:33:26     12    the benefit. So I think it is collateral and irrelevant in
10:33:28     13    that regard, so I'm going to strike that line of questioning.
10:33:31     14                MR. RUBINO: Yes, your Honor.
10:33:32     15                THE COURT: Thanks.
10:33:56     16                (End of sidebar discussion.)
10:33:56     17                THE COURT: All set.
10:33:56     18                MR. RUBINO: Your Honor, I have no further questions
10:33:58     19    of this witness. Thank you.
10:33:59     20                THE COURT: Oh, all right, Mr. Rubino.
10:34:01     21                Any redirect then?
10:34:03     22                MS. RODNEY: Yes, your Honor.
10:34:07     23                                         - - -
10:34:07     24                      ERIC DURANTE, REDIRECT EXAMINATION
10:34:07     25    BY MS. RODNEY:
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10:34:12       1   Q. Agent Durante, you testified first on direct and then you
10:34:18       2   were asked about it on cross-examination about your interview
10:34:21       3   of the defendant in August of 2009?
10:34:25       4   A. Correct.
10:34:26       5   Q. After that interview, when did you conduct your voice
10:34:31       6   comparison between the defendant's voice and Government
10:34:34       7   Exhibits 1-A, 1-B, and 1-C?
10:34:37       8   A. Right before and right after I had them with me on my
10:34:40       9   laptop.
10:34:42     10    Q. When you say right after, can you just be a bit more
10:34:46     11    specific?
10:34:47     12    A. Within -- within the hour, we went outside and I had them
10:34:51     13    right there on my laptop that I carried with me to the
10:34:55     14    interview.
10:34:56     15    Q. And after you did this voice comparison, you determined
10:34:58     16    that the defendant's voice matched the speaker on the calls
10:35:01     17    with Peter Flores?
10:35:02     18    A. Yes.
10:35:05     19    Q. You were also asked about scientific tests for voice
10:35:09     20    identification. In your experience -- as a law enforcement
10:35:13     21    agent and previously as a police officer, have you ever seen
10:35:16     22    any investigations where some sort of computer or scientific
10:35:21     23    voice analysis has been used?
10:35:23     24    A. No. In my thirteen and a half years in law enforcement, I
10:35:26     25    have never used one, I have never seen one used.
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10:35:29       1   Q. And how many cases have you worked on approximately where
10:35:32       2   there have been identifications from voice comparisons?
10:35:36       3   A. Numerous. I mean, I can't really approximate. Numerous
10:35:41       4   investigations. Pretty much all my investigations when we
10:35:44       5   have to identify voices with recordings.
10:35:57       6   Q. And you were also asked on cross-examination about your
10:36:02       7   instructions to Peter Flores in terms of making the
10:36:06       8   recordings. How did you instruct him to make those
10:36:09       9   recordings?
10:36:12     10    A. As I testified before, just instructed him to do them when
10:36:16     11    he can in a safe manner. I didn't give him specific
10:36:19     12    instructions on how to record, how to use the device.
10:36:22     13    Q. And when you say in a safe manner, does this mean outside
10:36:25     14    the presence of individuals who he was dealing drugs with?
10:36:28     15    A. Drug suppliers, drug customers, or anyone might be
10:36:32     16    suspicious into him cooperating with the police.
10:36:35     17    Q. And after your November 6th -- after your November 6th,
10:36:40     18    2008 meeting with Peter Flores, where you provided him with
10:36:44     19    those instructions, do you know if any drugs were moved by him
10:36:50     20    without your knowledge?
10:36:51     21    A. Not that I'm aware of.
10:36:53     22                MS. RODNEY: Just one moment, your Honor.
10:36:56     23                Your Honor, I have nothing further. Thank you.
10:36:58     24                THE COURT: Okay. Nothing further?
10:37:03     25                MR. RUBINO: (Shaking head.)
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10:37:04       1               THE COURT: Okay. You can step down, sir.
10:37:07       2               THE WITNESS: Thank you, your Honor.
10:37:08       3               (Witness leaves the stand.)
10:37:09       4               THE COURT: You can call your next witness.
10:37:10       5               MS. RODNEY: Your Honor, at this time the Government
10:37:12       6   would like to publish Government Exhibits 1-A, 1-B, 1-C, the
10:37:16       7   recordings.
10:37:17       8               THE COURT: Okay. Then before you do that, I would
10:37:19       9   like to read a -- is this the proper stipulation -- I mean,
10:37:24     10    limiting instruction, that's for later?
10:37:26     11                MS. GUREN: That's for later.
10:37:27     12                THE COURT: Okay. That's fine. You may do so.
10:37:29     13                MS. RODNEY: And, your Honor, may we distribute
10:37:31     14    the --
10:37:31     15                THE COURT: Yes. Could you, Marty, help them pass
10:37:34     16    out some transcript binders? Thank you.
10:38:14     17                MS. RODNEY: Your Honor, may I ask that you instruct
10:38:16     18    the jury to turn to Transcript 1.
10:38:19     19                THE COURT: So this is the way we are going to do
10:38:21     20    this. As we move along, if you can just look to me for
10:38:25     21    getting directions on when you can go through different
10:38:29     22    binders, that would be the best.
10:38:30     23                And, yes, you may now turn to transcript number 1.
10:38:34     24                MS. RODNEY: Thank you.
10:38:35     25                For the record, I'm publishing Government
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10:38:35       1   Exhibit 1-A.
10:39:10       2               (Whereupon the audio recording is played.)
10:42:32       3               MS. RODNEY: Your Honor, may I publish Government
10:42:36       4   Exhibit 1-B?
10:42:36       5               THE COURT: You may.
10:42:37       6               Okay, folks -- is it 1-B, did you say?
10:42:39       7               MS. RODNEY: It's Recording 1-B, Transcript 2.
10:42:42       8               THE COURT: Oh, okay. There you go. Transcript 2.
10:43:13       9               (Whereupon the audio recording is played.)
10:43:13     10                MS. RODNEY: And now may I publish Recording 1-C?
10:43:16     11                THE COURT: Which is Transcript 3?
10:43:18     12                MS. RODNEY: Which is Transcript 3.
10:43:19     13                THE COURT: Okay. You can turn to 3 now, folks.
10:43:47     14                (Whereupon the audio recording is played.)
10:44:50     15                MS. RODNEY: Your Honor, that concludes the
10:44:51     16    presentation of the recordings.
10:44:52     17                THE COURT: Okay. You can close up your binders now,
10:44:55     18    folks.
10:44:55     19                And call your next witness.
10:44:57     20                MS. GUREN: Your Honor, before we call the next
10:44:58     21    witness, we do have a stipulation to read, and it relates to
10:45:02     22    the limiting instruction.
10:45:02     23                THE COURT: Okay. Hold on. I have to find it.
10:45:20     24                Okay. You want the stipulation first or the limiting
10:45:23     25    instruction first?
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10:45:23       1               MS. GUREN: I think the limiting instruction should
10:45:26       2   go first. The stipulation relates to the topic.
10:45:29       3               THE COURT: All right. Although it's in past tense.
10:45:32       4               Okay, folks. Here's a limiting instruction on the
10:45:35       5   evidence you are about to hear. You are going to hear
10:45:37       6   evidence of a recording and recorded telephone calls made from
10:45:40       7   the McHenry County Jail by Ron Collins. You may consider this
10:45:45       8   evidence only for the limited purpose of the circumstances
10:45:49       9   under which the calls were recorded. You may not consider
10:45:52     10    this evidence for any other purpose. The fact that the calls
10:45:56     11    were recorded from jail is not evidence of the defendant's
10:45:59     12    guilt of any crime for which he is charged.
10:46:02     13                Okay. Now, you can read your stip.
10:46:04     14                MS. GUREN: Thank you, your Honor. The Government
10:46:06     15    now reads stipulation 8.
10:46:08     16                It is hereby stipulated and agreed by the United
10:46:11     17    States of America, by its attorney, Patrick J. Fitzgerald, the
10:46:15     18    United States Attorney for the Northern District of Illinois,
10:46:17     19    and the defendant, individually and by his attorneys, that the
10:46:21     20    following facts are true:
10:46:22     21                Government Exhibit Recording 2 is a disk containing
10:46:25     22    one recording, which truly and accurately records portions of
10:46:29     23    a telephone call made from the McHenry County Jail by Ron
10:46:34     24    Collins on December 24th, 2010 at approximately 12:33 p.m.
10:46:39     25                Government Exhibit Transcript 4 consists of a
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10:46:42       1   transcript of the recorded telephone call in Government
10:46:47       2   Exhibit Recording 2. The transcript contained in Government
10:46:51       3   Exhibit Transcript 4 is an accurate transcription of the
10:46:53       4   recorded conversation.
10:46:54       5               So stipulated?
10:46:58       6               (No response.)
10:46:58       7               THE COURT: Mr. Rubino, do you agree to the
10:47:00       8   stipulation, sir?
10:47:01       9               MR. RUBINO: Yes, your Honor.
10:47:01     10                THE COURT: Okay.
10:47:02     11                MS. GUREN: Thank you, your Honor.
10:47:03     12                At this time we would call Special Agent Pat Bagley
10:47:08     13    to the stand.
10:47:09     14                THE COURT: Okay.
10:47:16     15                (Witness takes the stand.)
10:47:17     16                THE COURT: Please raise your right hand.
10:47:20     17                (The witness was sworn.)
10:47:22     18                THE COURT: Okay. Have a seat.
10:47:22     19                                         - - -
10:47:22     20                      PATRICK BAGLEY, DIRECT EXAMINATION
10:47:22     21    BY MS. GUREN:
10:47:31     22    Q. Good morning.
10:47:32     23    A. Good morning.
10:47:33     24    Q. Can you introduce yourself and spell your last name for
10:47:35     25    the jury?
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10:47:36       1   A. Patrick Bagley, B-a-g-l-e-y.
10:47:40       2   Q. Where do you work?
10:47:41       3   A. I'm a special agent with the Drug Enforcement
10:47:44       4   Administration, here in Chicago.
10:47:45       5   Q. Can I refer to that as DEA?
10:47:47       6   A. Yes.
10:47:49       7   Q. What is your -- and you said you were a special agent?
10:47:51       8   A. Yes.
10:47:52       9   Q. What are your responsibilities as a special agent?
10:47:55     10    A. To enforce federal and state narcotics violations.
10:47:59     11    Q. How long have you worked as a special agent for DEA in
10:48:02     12    Chicago?
10:48:02     13    A. In Chicago it will be nine years shortly.
10:48:06     14    Q. Before that, where were you working?
10:48:08     15    A. I was a special agent in New York City.
10:48:11     16    Q. How long were you a special agent in New York City?
10:48:14     17    A. Almost six years.
10:48:16     18    Q. Before becoming a special agent with DEA, what was your
10:48:19     19    job?
10:48:19     20    A. I was a police officer.
10:48:20     21    Q. How long were you a police officer?
10:48:22     22    A. Eight and a half years.
10:48:23     23    Q. At what location?
10:48:25     24    A. For the Village of Bridgeview here in Illinois.
10:48:28     25    Q. How long have you been involved in this investigation?
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10:48:31       1   A. Since approximately August of 2009.
10:48:35       2   Q. What is your role currently in this case?
10:48:37       3   A. Currently, I'm one of the co-case agents.
10:48:40       4   Q. When did you become a co-case agent for this
10:48:43       5   investigation?
10:48:44       6   A. Approximately one year ago.
10:48:46       7   Q. What have been your responsibilities as a case agent?
10:48:52       8   A. Oversee this international investigation.
10:48:57       9               MS. GUREN: I'm going to hand you a packet of
10:49:00     10    documents and exhibits, and I'm just going to ask that you
10:49:05     11    refer to them one at a time as I ask about them.
10:49:25     12                And, your Honor, at this time, pursuant to the
10:49:27     13    stipulation, we would move into evidence Government Exhibit
10:49:30     14    Recording 2.
10:49:30     15                THE COURT: Okay. This will be admitted.
10:49:33     16    BY MS. GUREN:
10:49:34     17    Q. Looking first to Government Exhibit Recording 2, do you
10:49:38     18    recognize that?
10:49:40     19    A. (No response.)
10:49:41     20    Q. It's in the folder.
10:49:43     21    A. Thank you.
10:49:52     22                Yes, I do.
10:49:53     23    Q. What is it?
10:49:53     24    A. It's a recording. My initials are on it.
10:49:57     25    Q. Have you listened to Government Exhibit Recording 2?
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10:49:59       1   A. Yes, I have.
10:50:00       2   Q. Specifically, what is this a recording of?
10:50:03       3   A. It's a recording from the McHenry County Jail.
10:50:07       4   Q. Who is on the recording?
10:50:09       5   A. Subject identified as Ron Collins and another subject
10:50:14       6   who's identified as Chella.
10:50:16       7   Q. When did you review this recording?
10:50:18       8   A. February 14th of this year.
10:50:22       9   Q. Did you also review other recordings, from the McHenry
10:50:26     10    County Jail, of calls from Ron Collins on this day,
10:50:29     11    February 14th?
10:50:30     12    A. Yes.
10:50:30     13    Q. Just on February 14th, how long did you spend reviewing
10:50:34     14    this recording and those other McHenry County recordings?
10:50:38     15    A. Approximately one hour.
10:50:39     16    Q. Were there other days that you reviewed additional
10:50:42     17    recordings received from McHenry County Jail from Ron Collins,
10:50:46     18    other than these recordings?
10:50:48     19    A. Yes.
10:50:48     20    Q. What period of time -- or I should first ask you.
10:50:50     21                Did you review those recordings too?
10:50:53     22    A. Yes.
10:50:55     23    Q. What period of time -- over what period of time did you
10:50:58     24    review those other recordings?
10:51:00     25    A. I started reviewing recordings in December of 2010.
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10:51:06       1   Q. In total about how many calls from McHenry County Jail did
10:51:11       2   you review?
10:51:11       3   A. Approximately 20 or 25.
10:51:13       4   Q. In total, about how long did you spend reviewing these
10:51:16       5   calls, besides from that date on February 14th?
10:51:19       6   A. Several hours.
10:51:22       7   Q. Turning to the red binder in front of you, which is a
10:51:26       8   transcript binder, and turning to the tab of Government
10:51:30       9   Exhibit Transcript 4, do you recognize Government Exhibit
10:51:33     10    Transcript 4?
10:51:33     11    A. I do.
10:51:34     12    Q. What is Government Exhibit Transcript 4?
10:51:36     13    A. It's a transcript from Government Exhibit, I believe it's,
10:51:40     14    2 here, the recording. It's a transcript of the recording.
10:51:44     15    Q. How do you recognize this transcript?
10:51:46     16    A. I reviewed it and I initialed each page. There's three
10:51:50     17    pages.
10:51:50     18    Q. Did you previously go through Government Exhibit
10:51:54     19    Transcript 4 while going through Government Exhibit
10:51:57     20    Recording 2?
10:51:57     21    A. I did.
10:51:58     22    Q. Were you able to hear all the words on Government Exhibit
10:52:01     23    Recording 2?
10:52:01     24    A. No.
10:52:01     25    Q. In cases where you couldn't make out all the words, how is
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10:52:05       1   that noted on Government Exhibit Transcript 4?
10:52:09       2   A. It's marked in parentheses with UI, which stands for
10:52:11       3   unintelligible.
10:52:13       4   Q. To the best of your hearing, does Government Exhibit
10:52:14       5   Transcript 4 accurately reflect the recording on Government
10:52:17       6   Exhibit Transcript -- Recording 2?
10:52:18       7   A. Yes.
10:52:19       8               MS. GUREN: At this time, your Honor, before we play
10:52:22       9   the recordings, we would just like to publish Government
10:52:24     10    Exhibit Transcript 4 to refer to it during Special Agent
10:52:27     11    Bagley's testimony.
10:52:28     12                THE COURT: Okay. Now, that's fine. Now, is that in
10:52:30     13    the same binder?
10:52:32     14                MS. GUREN: It is in the same binder.
10:52:33     15                THE COURT: Okay.
10:52:34     16                MS. GUREN: It is the last tab.
10:52:36     17                THE COURT: Okay. So we'll be listening to this one.
10:52:39     18    It's your last tab. Go ahead, folks, and turn to it.
10:52:43     19    BY MS. GUREN:
10:52:44     20    Q. You started to testify about this already, but who are --
10:52:46     21    that there are speakers identified on this transcript, and one
10:52:49     22    of those speakers is identified as Ron Collins.
10:52:52     23                How did you identify this voice on the recording as
10:52:55     24    Ron Collins?
10:52:55     25    A. On the recording the subject identifies himself as Ron
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10:53:00       1   Ron, and he also says, Collins, in the recording.
10:53:03       2   Q. The other voice you identified as Chella, why is that the
10:53:07       3   identity of the transcript?
10:53:09       4   A. This subject identifies herself as Chella when she's
10:53:13       5   asked.
10:53:14       6   Q. Turning to the top of this transcript where it says, Date
10:53:17       7   and time, where did that information come from?
10:53:20       8   A. It came from the recording from the McHenry County Jail.
10:53:24       9   Q. Also, turning to that first page, there's a set of
10:53:29     10    asterisks some ways down.
10:53:33     11                What do the asterisks refer to?
10:53:35     12    A. The asterisks indicate that this transcript is a partial
10:53:37     13    transcript from the actual recording that the jail made.
10:53:42     14    Q. Turning to the very last page, are there also asterisks at
10:53:48     15    the end?
10:53:49     16    A. Correct.
10:53:49     17    Q. Looking at the three CDs that I handed to you, Government
10:53:52     18    Exhibit Recordings 1-A through 1-C, do you see those?
10:53:56     19    A. I do.
10:54:00     20                MS. GUREN: And at this time we can put away the
10:54:03     21    transcripts, and we'll go back to them.
10:54:09     22    BY MS. GUREN:
10:54:10     23    Q. Looking at Government Exhibits Recordings 1-A through 1-C,
10:54:15     24    what are they, first?
10:54:16     25    A. They are recordings of telephone -- telephone calls.
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10:54:18       1   Q. How do you recognize those recordings?
10:54:21       2   A. I initialed each CD.
10:54:24       3   Q. Have you previously reviewed the recordings on Government
10:54:27       4   Exhibit Recordings 1-A through 1-C?
10:54:29       5   A. I have.
10:54:30       6   Q. When did you review those recordings for the first time?
10:54:34       7   A. February 14th of this year.
10:54:36       8   Q. Was that the same date you listened to Government Exhibit
10:54:41       9   Recording 2?
10:54:41     10    A. Yes.
10:54:42     11    Q. Prior to listening to the recordings from the McHenry
10:54:47     12    County Jail and Recordings 1-A through 1-C, did you have any
10:54:50     13    other information about the identity of the speakers on
10:54:52     14    Government Exhibits Recordings 1-A through 1-C?
10:54:55     15    A. Yes.
10:54:55     16    Q. Without getting into the information, from whom did you
10:54:58     17    receive that information?
10:54:59     18    A. From other members of this investigation.
10:55:03     19    Q. How many speakers were on each of the recordings,
10:55:06     20    Recording 1-A through 1-C?
10:55:08     21    A. There's two main speakers.
10:55:10     22    Q. Did you recognize either of the two speakers on Government
10:55:13     23    Exhibit Recording 1-A through 1-C from in-person interactions?
10:55:17     24    A. With one of the subjects, yes.
10:55:20     25    Q. Who was that?
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10:55:21       1   A. Pedro Flores.
10:55:22       2   Q. Who was the other many voice on Government Exhibit
10:55:26       3   Recording 1-A through 1-C, did you come to recognize this
10:55:29       4   voice?
10:55:29       5   A. Yes.
10:55:29       6   Q. How did you come to recognize that voice?
10:55:32       7   A. From the recordings from the McHenry County Jail.
10:55:35       8   Q. Based on your comparison based on Government Recording 2
10:55:39       9   and McHenry Jail recordings and Recordings 1-A through 1-C,
10:55:44     10    who is the other main speaker on Government Exhibit 1-A
10:55:48     11    through 1-C?
10:55:49     12    A. Ron Collins.
10:55:50     13                MS. GUREN: May I have a moment, your Honor?
10:55:51     14                THE COURT: You may.
10:56:01     15                MS. GUREN: No further questions at this time.
10:56:02     16                THE COURT: Okay. Mr. Rubino?
10:56:02     17                                         - - -
10:56:02     18                       PATRICK BAGLEY, CROSS-EXAMINATION
10:56:02     19    BY MR. RUBINO:
10:56:07     20    Q. Agent Bagley, you listened to more calls than the one that
10:56:13     21    was -- that we're speaking of, correct, the one we have the
10:56:17     22    transcript of?
10:56:17     23    A. From the jail?
10:56:18     24    Q. Yes.
10:56:19     25    A. Yes, sir.
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10:56:20       1   Q. Okay. And in those jail calls was not -- Ron Collins also
10:56:30       2   used the nickname of Hollywood?
10:56:36       3   A. I don't know if I recall the nickname Hollywood, no.
10:56:40       4   Q. Do you know if anyone else in this investigation also used
10:56:42       5   the nickname of Hollywood?
10:56:45       6   A. Not to my knowledge.
10:56:48       7   Q. Do you know a Keeley Merry (phonetic)?
10:56:52       8   A. Sorry. What's his name?
10:56:53       9   Q. Keeley Merry, a suspect or defendant in this overall
10:56:57     10    investigation?
10:56:58     11    A. I heard of the name, yes.
10:56:59     12    Q. And did he not use the name of Hollywood?
10:57:03     13    A. I don't know.
10:57:06     14    Q. Do you know if Ron Collins was ever called whody,
10:57:12     15    w-h-o-d-y?
10:57:14     16    A. It's referred to on the phone calls.
10:57:17     17    Q. It's more than referred to.
10:57:19     18                Is he not called that, if that's him?
10:57:23     19    A. Yes, they -- yeah, they call each other that in the phone
10:57:26     20    call.
10:57:27     21    Q. In other words, the person who you claim -- you or the
10:57:30     22    Government claims on the calls is Ron Collins was never
10:57:33     23    referred to on the calls as Ron Ron, but was referred to as
10:57:38     24    whody, correct?
10:57:39     25    A. That is correct.
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10:57:40       1               MR. RUBINO: Thank you, sir. I have nothing else.
10:57:44       2               THE COURT: Anything else from the Government?
10:57:52       3               MS. GUREN: Just briefly, your Honor.
10:57:52       4                                        - - -
10:57:52       5                    PATRICK BAGLEY, REDIRECT EXAMINATION
10:57:52       6   BY MS. GUREN:
10:57:55       7   Q. Agent Bagley, do you know whether or not the term whody
10:57:59       8   that is on Recordings 1-A through 1-C is a term that is a
10:58:03       9   specific nickname or something of the equivalent of dude?
10:58:09     10    A. It sounded more like a whody. I have -- I have no idea.
10:58:15     11    I don't -- I don't know.
10:58:16     12                MS. GUREN: No further questions.
10:58:20     13                THE COURT: Anything else?
10:58:21     14                MR. RUBINO: No.
10:58:21     15                THE COURT: Okay. You can step down.
10:58:23     16                THE WITNESS: Thank you.
10:58:25     17                (Witness leaves the stand.)
10:58:25     18                THE COURT: You can call your next witness.
10:58:26     19                MS. GUREN: At this time, your Honor, we would
10:58:29     20    publish Government Exhibit 2 with accompanying transcript.
10:58:33     21                THE COURT: Transcript 4.
10:58:35     22                I don't know why they are not the same number, folks.
10:58:37     23    Transcript 4, you may follow along.
10:58:39     24                MS. GUREN: That would be my fault.
10:58:41     25                (Laughter.)
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10:59:11       1               (Whereupon the audio recording is played.)
11:01:50       2               MS. GUREN: At this time, your Honor, would you like
11:01:52       3   us to collect the transcripts?
11:01:53       4               THE COURT: Sure, that would be fine. Folks, if
11:01:56       5   you'll just pass them to the end here. And then, Marty, would
11:02:00       6   you grab them for me, please?
11:02:02       7               THE COURT SECURITY OFFICER: Sure.
11:02:11       8               THE COURT: You can give them to the Government.
11:02:13       9   Thank you.
11:02:16     10                THE COURT: Okay. Call your next witness, folks.
11:02:17     11                MS. GUREN: At this time we would call Jorge Llamas.
11:02:33     12                THE COURT: Right up here, sir.
11:02:37     13                (Witness takes the stand.)
11:02:37     14                THE COURT: Okay. Please raise your right hand.
11:02:40     15                (The witness was sworn.)
11:02:44     16                THE COURT: Okay. Have a seat.
11:02:44     17                                         - - -
11:02:44     18                        JORGE LLAMAS, DIRECT EXAMINATION
11:02:44     19    BY MS. GUREN:
11:02:53     20    Q. Good morning.
11:02:54     21    A. Good morning.
11:02:54     22    Q. Can you introduce yourself and spell your last name for
11:02:58     23    the record?
11:02:58     24    A. Yes. Jorge Llamas, Llamas is double L, -a-m-a-s.
11:03:04     25    Q. How old are you?
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11:03:05       1   A. 34.
11:03:06       2   Q. Where do you live, generally?
11:03:07       3   A. South Side of Chicago.
11:03:09       4   Q. How long have you lived in the South Side of Chicago?
11:03:12       5   A. 32 out of my 34 years.
11:03:15       6   Q. So is that where you grew up?
11:03:16       7   A. Yes, ma'am.
11:03:17       8   Q. How far did you go in school?
11:03:19       9   A. I got my equivalency, which is my GED, and I got some
11:03:24     10    college.
11:03:25     11    Q. What do you currently do during the day?
11:03:28     12    A. I'm a stay-at-home father.
11:03:31     13    Q. Do you have a nickname?
11:03:32     14    A. Yes, Sosa.
11:03:33     15    Q. Turning your attention now to March 2010, at that time did
11:03:38     16    you plead guilty to a federal drug charge?
11:03:40     17    A. Yes, ma'am.
11:03:40     18    Q. In your own words what did you plead guilty to?
11:03:43     19    A. I believe it's no less than 5 kilograms of cocaine and no
11:03:49     20    less than 1 kilogram of heroin.
11:03:51     21    Q. And what did you plead guilty to, doing with the no less
11:03:55     22    than 5 kilograms of cocaine and no less than 1 kilogram of
11:03:59     23    heroin?
11:03:59     24    A. Trafficking.
11:04:00     25    Q. Are you aware of the maximum penalties for that charge?
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11:04:03       1   A. Yes, ma'am.
11:04:04       2   Q. What are the maximum penalties?
11:04:06       3   A. Life.
11:04:07       4   Q. Is there also a minimum prison penalty?
11:04:10       5   A. Ten.
11:04:11       6   Q. And when you say ten, is that ten years?
11:04:14       7   A. Yes, ma'am.
11:04:14       8   Q. Is there also a maximum fine associated with your charge?
11:04:17       9   A. Yes, ma'am.
11:04:18     10    Q. What is that?
11:04:19     11    A. $4 million.
11:04:20     12    Q. At the time that you pleaded guilty, did you plead guilty
11:04:24     13    pursuant to a plea agreement with the Government?
11:04:26     14    A. Yes.
11:04:26     15    Q. As part of that plea agreement, did you agree to cooperate
11:04:29     16    with the Government?
11:04:30     17    A. Yes.
11:04:31     18    Q. Under the terms of your cooperation, what do you have to
11:04:37     19    do here today? And do you mind actually speaking a little bit
11:04:40     20    more into the microphone? It's a little hard to hear.
11:04:44     21    A. Oh. Basically just tell the truth.
11:04:46     22    Q. As part of that plea agreement, have you also cooperated
11:04:48     23    in an unrelated federal investigation involving narcotics?
11:04:51     24    A. Yes, ma'am.
11:04:52     25    Q. In exchange for your truthful testimony and cooperation,
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11:04:56       1   what recommendation do you expect the Government to make
11:04:59       2   regard to your sentence?
11:05:01       3   A. 50 percent.
11:05:03       4   Q. 50 percent. Is there a total month amount that you are
11:05:07       5   expecting?
11:05:08       6   A. Yes, ma'am.
11:05:08       7   Q. What is that month amount?
11:05:10       8   A. The total amount after the 50 percent or before?
11:05:13       9   Q. Yes [sic].
11:05:13     10    A. 67 months.
11:05:15     11    Q. What do you understand your defense counsel is allowed to
11:05:18     12    argue for, with regard to your sentence?
11:05:21     13    A. Well, he's -- he could argue for me to go home.
11:05:24     14    Q. Have you agreed to have your sentence postponed until
11:05:28     15    after you're done cooperating?
11:05:30     16    A. Yes, ma'am.
11:05:30     17    Q. Do you know what your sentence will be, as you sit here
11:05:32     18    now?
11:05:33     19    A. No.
11:05:33     20    Q. Who ultimately determines the sentence for your case?
11:05:36     21    A. Judge James Zagel.
11:05:39     22    Q. And just to clarify, that's not the judge who's here
11:05:41     23    today?
11:05:41     24    A. Oh, no, no.
11:05:42     25    Q. What is your understanding of what you have to do today to
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11:05:45       1   receive a recommendation from the Government for a reduced
11:05:48       2   sentence?
11:05:48       3   A. Just tell the truth.
11:05:50       4   Q. What is your understanding of what would happen if you
11:05:52       5   don't tell the truth today?
11:05:53       6   A. Just -- well, if I don't tell the truth, I perjure myself,
11:05:57       7   so ...
11:05:58       8   Q. And would you get the recommendation?
11:05:59       9   A. No.
11:06:00     10    Q. Have you previously used any drugs?
11:06:02     11    A. Yes.
11:06:03     12    Q. What kind?
11:06:04     13    A. Marijuana.
11:06:05     14    Q. How long did you use marijuana for?
11:06:08     15    A. Well, approximately fifteen years.
11:06:10     16    Q. When did you stop using marijuana?
11:06:13     17    A. Pretrial.
11:06:14     18    Q. When you say pretrial, what does that mean?
11:06:18     19    A. It's a condition of the bond.
11:06:21     20    Q. Is that for when you were charged in court?
11:06:23     21    A. Yes, ma'am.
11:06:24     22    Q. And that -- you said pretrial is part of the conditions of
11:06:27     23    bond?
11:06:27     24    A. Yes, ma'am.
11:06:29     25    Q. Towards the end, how much marijuana were you using?
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11:06:33       1   A. It depended on where I was, if I was here or Mexico.
11:06:38       2   Anywhere from a pound to a key.
11:06:40       3   Q. And when you say key, how much is that?
11:06:42       4   A. Kilogram.
11:06:43       5   Q. When you say a pound to a kilogram, for what period of
11:06:46       6   time were you using this amount?
11:06:47       7   A. Roughly a month.
11:06:48       8   Q. About how much did that work out to a day?
11:06:51       9   A. It depends. If it's a pound, up to an ounce a day. If
11:06:57     10    it's a key, up to two ounces a day.
11:07:00     11    Q. How long did you use that amount of marijuana for?
11:07:03     12    A. For about ten years.
11:07:05     13    Q. And -- I'm sorry. Can you speak up?
11:07:06     14    A. Oh, for about ten years. Sorry about that.
11:07:08     15    Q. After you were charged, you talked about these bond
11:07:11     16    conditions. Was [sic] that bond conditions that the judge
11:07:14     17    gave you?
11:07:14     18    A. Yes.
11:07:14     19    Q. As part of those bond conditions, are you tested for drug
11:07:18     20    use?
11:07:20     21    A. Yes, ma'am.
11:07:20     22    Q. Did you ever test positive for any sentence -- or any
11:07:23     23    substance? Excuse me.
11:07:25     24    A. Yes, I did.
11:07:25     25    Q. What substance was that?
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11:07:27       1   A. Marijuana.
11:07:28       2   Q. How many times have you tested positive for marijuana?
11:07:32       3   A. Roughly four or five times.
11:07:35       4   Q. Over what period of time?
11:07:39       5   A. No more than three months after I stopped, four months,
11:07:44       6   roughly.
11:07:44       7   Q. What is your understanding of why you were testing
11:07:47       8   positive for marijuana?
11:07:48       9   A. Because --
11:07:48     10                MR. RUBINO: Objection, that would be opinion.
11:07:50     11                THE COURT: Sustained.
11:07:56     12    BY MS. GUREN:
11:07:56     13    Q. Were you using marijuana at the time?
11:07:58     14    A. Excuse me. Sorry about that.
11:08:01     15    Q. Yeah.
11:08:01     16                Were you using marijuana at the time?
11:08:03     17    A. At the time of when?
11:08:04     18    Q. At the time that you were testing positive for marijuana.
11:08:06     19    A. Oh, no, no, no. I had stopped, but it's just since I'm
11:08:09     20    fat, you know, the marijuana, the THC stores in your fat
11:08:12     21    cells.
11:08:13     22    Q. Were you -- did one of those positive tests also come back
11:08:17     23    for a positive for opiates?
11:08:19     24    A. Yes, ma'am.
11:08:19     25    Q. Were you using opiates at the time?
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11:08:21       1   A. No, ma'am.
11:08:22       2   Q. Do you know why you tested positive for opiates?
11:08:24       3   A. From what I got, it was just a false positive.
11:08:27       4   Q. Besides for marijuana in the past, did you ever use any
11:08:30       5   other drugs?
11:08:32       6   A. Yeah, cocaine once in a blue moon.
11:08:36       7   Q. When would you use cocaine?
11:08:39       8   A. Basically -- basically was like sometimes just to check
11:08:45       9   the product.
11:08:46     10    Q. When you say product, are you referring to the product of
11:08:49     11    cocaine?
11:08:49     12    A. Yes, ma'am.
11:08:50     13    Q. Did you ever use hallucinogenics?
11:08:52     14    A. Yes.
11:08:53     15    Q. When was the last time you used hallucinogenics?
11:08:57     16    A. I'm 34. Fourteen years ago.
11:08:58     17    Q. How often were you using them at that time?
11:09:03     18    A. Just a typical used [sic], whenever, basically.
11:09:08     19    Q. Directing your attention to the late '90s, were you
11:09:13     20    working in the late '90s?
11:09:15     21    A. Yes, ma'am.
11:09:15     22    Q. What was your job?
11:09:17     23    A. I was -- at first I started off as a dispatcher, sending
11:09:23     24    people to work a temporary labor. And then afterwards, I
11:09:30     25    became a manager of a different temporary agency.
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11:09:35       1   Q. At some point did you stop working for the second
11:09:38       2   temporary agency?
11:09:39       3   A. Yes.
11:09:39       4   Q. When was that?
11:09:41       5   A. Roughly 2002.
11:09:43       6   Q. When you stopped working for that second temporary agency,
11:09:47       7   did you do anything to make money on your own?
11:09:50       8   A. Yeah. I nickel-and-dimed marijuana.
11:09:54       9   Q. How long did you do that for?
11:09:55     10    A. It depended on the product, basically. It's, you know --
11:10:00     11    it wasn't much, you know.
11:10:01     12    Q. What's not much?
11:10:03     13    A. Maybe a couple months, a month.
11:10:06     14    Q. Did you do anything else to make money?
11:10:11     15    A. Well, I assisted -- well, I was already assisting the
11:10:16     16    Flores DTO.
11:10:17     17    Q. When you say DTO, what does that stand for?
11:10:19     18    A. Drug trafficking organization.
11:10:21     19    Q. How did you first meet the Flores brothers?
11:10:25     20    A. Like in '97, somebody was assaulting one of the -- one of
11:10:34     21    the Flores brothers, and I -- basically someone was beating
11:10:41     22    them up, and I stuck up for him.
11:10:44     23    Q. Showing you at this time -- your Honor, may we have
11:10:47     24    permission to publish Government Exhibit Photo 1?
11:10:49     25                THE COURT: You may.
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11:10:50       1   BY MS. GUREN:
11:10:51       2   Q. Showing you, this time on your screen, Government Exhibit
11:11:01       3   Photo 1. Do you recognize this photo?
11:11:04       4   A. Yeah, that's Pedro Flores.
11:11:07       5               MS. GUREN: Your Honor, permission to publish
11:11:09       6   Government Exhibit Photo 2.
11:11:10       7               THE COURT: Sure.
11:11:11       8   BY MS. GUREN:
11:11:12       9   Q. Showing you now on the screen Government Exhibit Photo 2,
11:11:15     10    do you recognize that photo?
11:11:16     11    A. Yes, that's Margarito Flores.
11:11:18     12    Q. Did you also know him by any other name?
11:11:21     13    A. Junior.
11:11:22     14    Q. What did the Flores brothers do to make money?
11:11:26     15    A. Traffic cocaine.
11:11:28     16    Q. Did they do any other drugs besides -- did they traffic
11:11:34     17    any other drugs besides cocaine?
11:11:36     18    A. Marijuana once in a blue moon, but it wasn't -- it wasn't
11:11:41     19    around. And then heroin in approximately '06-ish and on.
11:11:50     20    Q. When did you start getting paid by the Flores brothers?
11:11:52     21    A. I want to say roughly July of '02.
11:11:57     22    Q. Before this, were you sporadically paid by them?
11:12:01     23    A. Yes, yes.
11:12:01     24    Q. And when did you start getting sporadically paid by them?
11:12:05     25    A. Oh, maybe the winter of '01. Sometime after the
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11:12:11       1   unfortunate 9/11 accident.
11:12:13       2   Q. How did you first get involved in getting paid by the
11:12:17       3   Flores brothers?
11:12:19       4   A. Cesar Perez, he used to live with me, and -- well, you
11:12:26       5   know, like --
11:12:26       6   Q. Based on your observations, what was Cesar Perez doing for
11:12:30       7   the twins?
11:12:31       8   A. He was a runner, basically.
11:12:33       9   Q. What does it mean to be a runner?
11:12:35     10    A. He was their legs, you know, the twins' legs.
11:12:38     11    Q. What types of things did he do as their legs?
11:12:41     12    A. Whatever, whatever was needed, necessary, pick up, pick up
11:12:45     13    money, drop off money, pick up coke, drop off coke, and
11:12:51     14    phones, you know, miscellaneous things.
11:12:55     15    Q. When you were first getting paid -- or when you were
11:12:58     16    getting paid by the Flores brothers starting in about July
11:13:02     17    2002, where were you living at first, just generally?
11:13:05     18    A. South Side of Chicago.
11:13:06     19    Q. At some point did you leave Chicago?
11:13:08     20    A. Yes.
11:13:08     21    Q. Where did you go to?
11:13:09     22    A. Mexico.
11:13:10     23    Q. When was that?
11:13:12     24    A. Roughly March 3rd of '04.
11:13:17     25    Q. So I'm just going to focus for right now on the period of
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11:13:21       1   July 2002 to about March 2004.
11:13:24       2   A. Yes.
11:13:24       3   Q. What were the types of things that you did when you worked
11:13:27       4   for the Flores brothers, when you worked during that time
11:13:31       5   period?
11:13:31       6   A. I was basically a runner as well, which were [sic]
11:13:34       7   basically the same thing as I described as the other
11:13:38       8   gentleman, picking up/dropping off money, picking up/dropping
11:13:41       9   off coke, phones, miscellaneous stuff.
11:13:45     10    Q. And I want to first talk about the picking up of and
11:13:49     11    dropping off coke, is that cocaine?
11:13:50     12    A. Yes, ma'am.
11:13:51     13    Q. Who did you pick up cocaine from?
11:13:53     14    A. Various sources of theirs.
11:13:57     15    Q. Where would you meet those various sources?
11:13:59     16    A. Various areas throughout the Chicagoland area.
11:14:02     17    Q. What types of areas were those?
11:14:04     18    A. Public basically.
11:14:06     19    Q. Were they --
11:14:07     20    A. Like shopping malls and restaurants, et cetera.
11:14:11     21    Q. What did you -- where did you take the cocaine that you
11:14:14     22    picked up to?
11:14:15     23    A. Wherever, wherever the Flores brothers are -- already
11:14:21     24    predetermined.
11:14:22     25    Q. What types of places would be predetermined?
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11:14:24       1   A. Oh, the stash houses, you know. It just depended.
11:14:27       2   Sometimes it was, you know, take it to stash houses for a
11:14:31       3   couple days, sometimes it was just take it and, you know, get
11:14:35       4   a load and drop it off to a customer.
11:14:38       5   Q. And now I'll get to the dropping off to a customer in a
11:14:42       6   minute.
11:14:42       7   A. Okay.
11:14:43       8   Q. What is a stash house?
11:14:44       9   A. Just clandestine house, you know, just -- some were not
11:14:49     10    the -- somewhere not the general public is to know that it's
11:14:52     11    anything but a house.
11:14:53     12    Q. Were there different types of stash houses used in the
11:14:57     13    Flores brothers' operation?
11:14:58     14    A. At first, no. But like everything, you know, yes, you
11:15:03     15    know, you simplify, you know, one's for money, one's for
11:15:08     16    drugs, you know.
11:15:09     17    Q. When did it start being one for money, one for drugs?
11:15:12     18    A. Ooh. Roughly sometime late '02, '03, early '03.
11:15:18     19    Q. How would you bring the -- how did you bring the cocaine
11:15:22     20    to the stash houses that you were picking up?
11:15:23     21    A. How did I bring it? Mini-vans, the SUVs.
11:15:29     22    Q. About how much at a time did you pick up?
11:15:32     23    A. It depended, anywhere from 50 to 350 kilograms.
11:15:37     24    Q. How did you know to pick up the cocaine from these
11:15:39     25    sources?
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11:15:40       1   A. One of the brothers would have instructed me beforehand.
11:15:43       2   Q. How did they contact you?
11:15:45       3   A. Phone.
11:15:47       4   Q. When you worked for the Flores brothers, did you use one
11:15:50       5   phone the whole time?
11:15:51       6   A. Oh, no, no, no, many clandestine phones.
11:15:54       7   Q. And you started to say this already, but about how many
11:15:57       8   phones did you use?
11:15:58       9   A. Hundreds.
11:15:59     10    Q. And would it be hundreds at a time or --
11:16:01     11    A. No, no, no, no. For me, personally, no. It was -- it was
11:16:07     12    never -- it was always like one and then you'd switch and then
11:16:11     13    one and then switch and, you know ...
11:16:13     14    Q. How often during 2002 and March 2004 did you pick up
11:16:18     15    cocaine from these sources?
11:16:20     16    A. Ooh. I don't even remember. It was -- it was -- it was
11:16:24     17    quite a few times.
11:16:25     18    Q. I'm sorry. Say again?
11:16:26     19    A. It was quite a few times.
11:16:28     20    Q. Can you estimate how much in a month, for example?
11:16:33     21    A. Let me see. The cocaine business is very unstable with
11:16:36     22    law enforcement and thieves, et cetera, so in one -- in one
11:16:43     23    month maybe we probably got seen once and maybe we wouldn't
11:16:47     24    get seen for two months. And then maybe the next month we got
11:16:51     25    seen three times in a week. Seen meaning that we received
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11:16:55       1   drugs, cocaine.
11:16:56       2   Q. In total how much cocaine did you pick up from these
11:17:00       3   sources between 2002 and March 2004 only?
11:17:04       4   A. Okay. Roughly, roughly between six and a half to seven
11:17:12       5   and a half tons of cocaine.
11:17:18       6   Q. Now, you mentioned that you would bring the cocaine to the
11:17:20       7   stash house or you might immediately make a delivery?
11:17:23       8   A. Yes.
11:17:23       9   Q. Who did you deliver to?
11:17:24     10    A. The customers.
11:17:27     11    Q. Between 2002 and March 2004, about how many customers in
11:17:32     12    total did you deliver to?
11:17:33     13    A. I want to say we never had more than twenty customers at a
11:17:37     14    time, but it could -- you know, it could have been more. But
11:17:40     15    I want to say, roughly, it was about twenty, fifteen.
11:17:44     16    Q. And, again, just between 2002 to March 2004, approximately
11:17:48     17    how much cocaine in total did you deliver to these customers?
11:17:51     18    A. From 2002 to what?
11:17:53     19    Q. To March 2004, just that time period.
11:17:55     20    A. Oh, like I said, approximately six and a half to seven and
11:17:58     21    a half tons --
11:17:58     22    Q. Did you ever go with --
11:17:59     23    A. -- give or take.
11:17:59     24    Q. -- other workers of the Flores brothers to deliver cocaine
11:18:03     25    to customers?
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11:18:04       1   A. Yes, ma'am.
11:18:05       2   Q. From your observations, was that typical of how the Flores
11:18:08       3   brothers operated for customer deliveries?
11:18:09       4   A. No, no. Normally it was just one person, one, you know,
11:18:14       5   but --
11:18:14       6   Q. Why did you do it differently?
11:18:16       7   A. Sometimes -- well, the reason that I started to do it
11:18:20       8   different was just because I wanted some time to myself. When
11:18:25       9   you're working anywhere from 90 to 120 hours a week, you know,
11:18:32     10    you have money, but you don't have any time to do anything.
11:18:37     11    So, therefore, you know, I three-wayed certain things with
11:18:39     12    certain of the Flores brothers' DTO members.
11:18:42     13    Q. Was there also time that you delivered alone to the
11:18:45     14    customers?
11:18:46     15    A. Yes.
11:18:46     16    Q. How did you know when to deliver cocaine to a customer?
11:18:49     17    A. The brothers called me.
11:18:50     18    Q. What types of instructions did the brothers give you?
11:18:53     19    A. An example would be, Go see X with Y and take it to Z, for
11:19:03     20    example.
11:19:03     21    Q. Who are X, Y, and Z in that circumstance?
11:19:06     22    A. X is the customer.
11:19:08     23    Q. Y?
11:19:08     24    A. The amount of bricks or coke -- excuse me -- coke, drugs,
11:19:13     25    and Z would be the place that they predetermined.
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11:19:17       1   Q. And when you say bricks, is that kilograms?
11:19:18       2   A. Yes, yes. It's just another terminology.
11:19:21       3   Q. And if you want water, Mr. Llamas --
11:19:23       4   A. Yes.
11:19:24       5   Q. -- there is a pitcher right there, if you need --
11:19:26       6   A. Yes, just to clear my throat.
11:19:29       7   Q. -- any to drink it.
11:19:33       8   A. No water.
11:19:35       9   Q. Oh, let me exchange pitchers with you.
11:19:38     10    A. Okay.
11:19:42     11    Q. This was my responsibility.
11:19:46     12    A. Thank you. Oh, sorry. It probably did have water. I
11:19:52     13    just didn't know how to do it.
11:19:54     14    Q. Well, we'll leave this up here for ...
11:19:59     15                Now, we're just talking about these instructions.
11:20:05     16    A. Yes.
11:20:05     17    Q. After you got these instructions, how did you get the
11:20:07     18    cocaine to deliver it?
11:20:09     19    A. How? Well, it depended on where I was at the time. You
11:20:16     20    know, there was times that I would already be at a stash
11:20:19     21    house, so I wouldn't have to make an extra trip. If I wasn't
11:20:24     22    at a stash house, well, I'd have to go to wherever they
11:20:27     23    predetermined, you know, of which stash house to go to and
11:20:31     24    then just go pick up the load and take it.
11:20:34     25    Q. At what types of locations did you meet these customers?
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11:20:37       1   A. What do you mean like?
11:20:38       2   Q. What types of areas?
11:20:39       3   A. Oh, it depended. Anywhere -- anywhere in the city,
11:20:43       4   anywhere in the city. It could have been, like I said, public
11:20:46       5   places or it could have been their houses.
11:20:47       6   Q. When you talk about public places, is there -- can you
11:20:50       7   give me examples of the different types of public places?
11:20:53       8   A. Like I said, stores, streets, just anything where there's
11:21:01       9   generally a high-traffic of people, so it wouldn't look like
11:21:06     10    something obvious, in other words.
11:21:10     11    Q. Was it different places for different customers?
11:21:13     12    A. Yes, ma'am.
11:21:15     13    Q. During 2002 to March 2004, about how many times did you
11:21:17     14    deliver kilograms of cocaine to customers of the Flores
11:21:19     15    brothers?
11:21:19     16    A. From 2002 to 2004?
11:21:21     17    Q. Yes.
11:21:22     18    A. Hundreds.
11:21:23     19    Q. How did you transport the cocaine to deliver to those
11:21:26     20    customers?
11:21:27     21    A. It depended. It depended. Most of the times the way you
11:21:34     22    are supposed to -- you were supposed to do it was to trap the
11:21:37     23    cocaine, you know, just to put it in a concealed hiding place
11:21:42     24    in the car. But if I was getting followed by someone, well,
11:21:47     25    just throw it in the back of the -- you know, the back, like
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11:21:50       1   the trunk or X.
11:21:51       2   Q. When you say followed by someone, who would be the type of
11:21:54       3   person that would be following you?
11:21:55       4   A. One of my coworkers.
11:21:57       5   Q. Why would they be following you?
11:22:00       6   A. For safety, maybe to try to hurry it up. You know, it
11:22:09       7   could have been any reason, but basically it was for safety.
11:22:12       8   Q. Once you met up with a customer, what were the different
11:22:14       9   ways that you gave the cocaine to the customers?
11:22:18     10    A. Well, if it wasn't trapped, it was real easy, because it
11:22:22     11    was already in the suitcases, the suitcases or duffle bags.
11:22:26     12    So, you know, that's easy. It's just like unloading
11:22:30     13    groceries.
11:22:30     14                If it's -- if it's trapped, then it could be a little
11:22:35     15    bit more complicated for the simple fact that a lot of the
11:22:41     16    traps, you know, they are concealed hiding places in cars, and
11:22:45     17    they could be anywhere, you know. So, therefore, you might --
11:22:50     18    for certain cars, certain traps you might need to be inside
11:22:55     19    someone's house instead of being on the street, because it
11:22:57     20    would attract attention.
11:23:02     21    Q. Specifically when you dropped off cocaine to these
11:23:05     22    customers, did these customers ever give you anything back?
11:23:09     23    A. Yeah, sometimes money or bad coke.
11:23:13     24    Q. When you say bad coke, what is that?
11:23:15     25    A. Just bad coke. In any product that you deal with,
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11:23:19       1   sometimes you have bad product, and the product didn't come in
11:23:23       2   back right, it's not getting cooked. It could be X reasons
11:23:27       3   why the product is bad. But it's just bad, you know, the
11:23:31       4   brothers would be kind enough, I guess, to take it back.
11:23:37       5   Because most of the times when you get drugs, you know,
11:23:40       6   whatever you get you got.
11:23:42       7   Q. When you say kind enough, was it a business practice?
11:23:45       8   A. Yeah, it was their good business practice, I would say,
11:23:49       9   because, like I said, a lot of people, whatever you get you
11:23:51     10    got, and ...
11:23:52     11    Q. And you also said you picked up money. What was the money
11:23:57     12    for?
11:23:57     13    A. For coke.
11:23:58     14    Q. Was it for this particular delivery that you would be
11:24:01     15    giving or a previous delivery?
11:24:03     16    A. It depended, it depended. But most of the time it was for
11:24:07     17    a previous consignment.
11:24:08     18    Q. You mentioned money pickups. How many times did you pick
11:24:12     19    up money for customers where you weren't dropping off cocaine
11:24:16     20    to them, just during 2002 to March 2004?
11:24:19     21    A. Oh, when I was just picking up -- it could have been
11:24:22     22    hundreds.
11:24:23     23    Q. And just counting the times where you delivered cocaine to
11:24:23     24    customers and got money back, about how many times during 2002
11:24:26     25    to March 2004 did that happen?
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11:24:28       1   A. Ooh. When you get money back? Anywhere from 35 to
11:24:36       2   50 percent.
11:24:40       3   Q. I'm jumping the gun in asking you this. Were there times
11:24:44       4   where you would just pick up money from the customers?
11:24:46       5   A. Yes, yes.
11:24:47       6   Q. How would you know to --
11:24:48       7   A. The brothers would instruct us.
11:24:50       8   Q. From 2002 to March 2004 were you responsible at all for
11:24:53       9   counting that money that you picked up?
11:24:55     10    A. Yes.
11:24:56     11    Q. On average how much money did you pick up from the
11:24:58     12    customers?
11:24:59     13    A. Anywhere from five to seven figures.
11:25:02     14    Q. At any given time did you know ahead of time how much
11:25:05     15    money you would be picking up?
11:25:07     16    A. Rarely, rarely. Sometimes the customers would tell you.
11:25:09     17    Sometimes the brothers would tell you, but, rarely.
11:25:12     18    Q. You mentioned phones. What, if anything, was your
11:25:14     19    responsibility with phones from 2002 to March 2004?
11:25:17     20    A. Just to buy them in bulk at different locations, so
11:25:21     21    that -- you know, so it could be clandestine, you know.
11:25:25     22    Q. Did you give those phones to anyone?
11:25:26     23    A. Yes.
11:25:26     24    Q. Who did you give them to?
11:25:28     25    A. Either the brothers or the customers.
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11:25:30       1   Q. On whose instructions --
11:25:33       2   A. The brothers'.
11:25:34       3   Q. And just so the record is clear, because the court
11:25:36       4   reporter is taking down notes --
11:25:37       5   A. Yes.
11:25:38       6   Q. -- will you just say your answer again to my question?
11:25:40       7   A. The brothers', the Flores brothers'.
11:25:43       8   Q. About how many phones did you drop off in total to
11:25:47       9   customers from 2002 to March 2004?
11:25:49     10    A. Hundreds.
11:25:51     11    Q. From 2002 to March 2004 did you get paid for your work
11:25:55     12    with the Flores brothers?
11:25:56     13    A. From 2002 -- yes.
11:25:57     14    Q. How much did you get paid?
11:25:59     15    A. Oh. Well, if I said six and a half to seven and a half
11:26:05     16    tons, that's basically 650- to 750-grand.
11:26:10     17    Q. And is that because your payment was based on --
11:26:13     18    A. Per kilo.
11:26:14     19    Q. -- the amount per kilo?
11:26:15     20    A. Yes, per kilo.
11:26:16     21    Q. And so how much were you paid per kilogram of cocaine?
11:26:20     22    A. A hundred.
11:26:22     23    Q. And is that kilogram you picked up or whatever or what?
11:26:25     24    A. No, it was for delivery.
11:26:26     25    Q. In what form did you get paid?
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11:26:28       1   A. Cash.
11:26:30       2   Q. You testified that you went to Mexico in March 2004. What
11:26:34       3   prompted you to go to Mexico?
11:26:35       4   A. A seizure at a warehouse.
11:26:37       5   Q. When you say a seizure, who did the seizure?
11:26:39       6   A. From my -- whatchamacallit -- recollection or whatever,
11:26:46       7   DEA, federal -- well, law enforcement.
11:26:48       8   Q. Law enforcement?
11:26:48       9   A. Yes, law enforcement.
11:26:49     10    Q. What did they seize?
11:26:51     11    A. To my knowledge, 325 kilos inside the warehouse plus
11:26:57     12    whatever the -- plus whatever -- whoever got arrested, they
11:27:05     13    gave -- they also handed in something, what it was.
11:27:08     14    Q. And just to be clear, did you get arrested that day?
11:27:11     15    A. No.
11:27:12     16    Q. How long -- did you know whether there was any warrant out
11:27:16     17    for your arrest for that?
11:27:17     18    A. Oh, no, there was no warrant.
11:27:19     19    Q. How long were you in Mexico for?
11:27:21     20    A. Roughly 25 months.
11:27:22     21    Q. While you were in Mexico, what did you do?
11:27:25     22    A. Just whatever, whatever needed to get done, you know, buy
11:27:31     23    phones, you know, miscellaneous things.
11:27:33     24    Q. Who were you working for when you were in Mexico?
11:27:35     25    A. The Flores brothers.
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11:27:36       1   Q. Who were you living with?
11:27:40       2   A. The Flores brothers.
11:27:40       3   Q. When you say whatever needed to get done, can you just go
11:27:42       4   through some of those tasks?
11:27:43       5   A. Yeah. Like I said phones, sometimes -- more towards the
11:27:49       6   end of the stay, once they met more people, sometimes to go
11:27:53       7   count money at the stash houses from the Mexicans. That was
11:28:00       8   it.
11:28:00       9   Q. What did you understand the money you were counting was
11:28:05     10    from?
11:28:05     11    A. Narcotics.
11:28:06     12    Q. How much were you paid in Mexico?
11:28:08     13    A. It depended. When I was in Mexico, it was basically
11:28:11     14    retainer, you know, could have been two grand, could have been
11:28:14     15    five grand, could have been ten grand, could have been one.
11:28:18     16    Q. And you talked about phones. Can you explain more about
11:28:21     17    what you did with phones in Mexico?
11:28:23     18    A. Yeah, same thing. Just get these guys a phone, so they
11:28:26     19    could communicate with their customers.
11:28:28     20    Q. Did you ever see phones being used by the Flores brothers?
11:28:30     21    A. Oh, yeah. That was the -- at any given time there was
11:28:35     22    anywhere from 30 to 50 phones, so ...
11:28:39     23    Q. And that was all -- that was at the same time?
11:28:41     24    A. Yes, yes.
11:28:42     25    Q. So during the time that there's these 30 to 50 phones
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11:28:47       1   around, did you see whether or not the phones had any markings
11:28:49       2   on them?
11:28:51       3   A. Yeah. All of them had stickers on the back, you know,
11:28:53       4   just like decals, just stickers so that you could write the
11:28:57       5   name or the code name of someone, so that you could
11:28:59       6   distinguish them.
11:29:00       7   Q. What, if anything, did the stickers have on them?
11:29:03       8   A. Just the customer name.
11:29:07       9   Q. When you came back to the United States, do you remember
11:29:10     10    what month that was around?
11:29:11     11    A. Roughly April 15th of '06.
11:29:17     12    Q. Were you still working for the Flores brothers when you
11:29:19     13    came back?
11:29:20     14    A. Yes.
11:29:20     15    Q. What city or ...
11:29:23     16    A. Chicago, Chicago.
11:29:24     17    Q. Chicago?
11:29:25     18                What did you do for the Flores brothers, when you
11:29:27     19    came back to Chicago?
11:29:29     20    A. At first, nothing, just made sure that I wasn't hot, I
11:29:35     21    guess you'd say, meaning that law enforcement wasn't hovering
11:29:40     22    around me.
11:29:42     23    Q. After you -- a period of time that you didn't do anything,
11:29:48     24    did you start to do anything?
11:29:49     25    A. Yeah, you know, the same old things.
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11:29:50       1   Q. How long did it take you to start doing things again?
11:29:55       2   A. If I came back in April, maybe July.
11:30:01       3   Q. So in July 2006 when you say doing the same things, what
11:30:05       4   things were those?
11:30:06       5   A. Just, you know, the same narcotics stuff, you know, just,
11:30:11       6   you know, picking up money, dropping off money.
11:30:14       7   Q. Were you still delivering cocaine to customers?
11:30:17       8   A. Not as much, not as much. When I came back, I was
11:30:22       9   primarily seeing one person.
11:30:25     10    Q. Why were you primarily just seeing one person?
11:30:28     11    A. Because of my smoking habit. The brothers didn't want,
11:30:33     12    for instance, law enforcement to pull me over. And because I
11:30:36     13    was always smelling like marijuana, you know, they didn't want
11:30:41     14    them to go into the car.
11:30:43     15    Q. Did you sometimes still deliver cocaine to other
11:30:48     16    customers?
11:30:49     17    A. Yeah, sometimes, but it wasn't -- it wasn't -- it wasn't
11:30:50     18    like before.
11:30:51     19    Q. About how many other customers did you also deliver
11:30:53     20    cocaine to, even if it's at this lesser amount?
11:31:00     21    A. No more than maybe five.
11:31:03     22    Q. About how much cocaine were you delivering to each
11:31:06     23    customer?
11:31:07     24    A. When I came back?
11:31:08     25    Q. Yes.
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11:31:09       1   A. Between 20 a 40 keys.
11:31:14       2   Q. How often, when you came back, did you deliver cocaine to
11:31:18       3   the customers?
11:31:18       4   A. Whenever they called me and told me. It just depended on
11:31:22       5   if there was product or not.
11:31:23       6   Q. For what length of time did you continue making these
11:31:26       7   deliveries of cocaine to customers?
11:31:28       8   A. 'Til roughly September of '08, because I went to Mexico
11:31:36       9   from October to December.
11:31:39     10    Q. And when you say October to when?
11:31:41     11    A. To December.
11:31:42     12    Q. And is that 2008?
11:31:43     13    A. Yes.
11:31:44     14    Q. Were you also doing other things during this time period,
11:31:47     15    when you came back from Mexico in April 2006 and started
11:31:50     16    working again in July 2006?
11:31:53     17    A. Wait a minute. Was I doing anything?
11:31:56     18    Q. Besides just delivering cocaine, were you doing anything
11:32:00     19    else?
11:32:00     20    A. Just miscellaneous things they needed, pick up a car, drop
11:32:05     21    off a car, phones, you know, miscellaneous stuff, so I was
11:32:08     22    around.
11:32:08     23    Q. Did you have anything to do with money during this time
11:32:12     24    period?
11:32:12     25    A. Well, yeah, picking up money sometimes.
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11:32:14       1   Q. Who were you picking up money from?
11:32:17       2   A. From the Flores DTO.
11:32:21       3   Q. The Flores DTO?
11:32:23       4   A. Yes.
11:32:23       5   Q. Did you ever collect any money from customers?
11:32:26       6   A. Yes.
11:32:26       7   Q. When did you collect money from customers?
11:32:28       8   A. When did I collect? Whenever one of the brothers would
11:32:32       9   call me to send me.
11:32:33     10    Q. Did you start to -- was there any point where that
11:32:35     11    increased in any way?
11:32:39     12    A. When I came back, that just depended on the time and the
11:32:43     13    circumstances, basically.
11:32:45     14    Q. While you were in Chicago, you talked about that you were
11:32:49     15    doing -- still doing miscellaneous things with the phones.
11:32:53     16    What were you doing with those phones?
11:32:55     17    A. Just buying them, you know, sending them the codes, you
11:33:01     18    know, for the phones, you know, to keep the numbers as secret
11:33:05     19    as possible.
11:33:06     20    Q. How many phones did you deliver during this time period?
11:33:09     21    A. Could have been a hundred.
11:33:10     22    Q. Who were you delivering them to?
11:33:13     23    A. The customers of the Flores DTO or some of my coworkers.
11:33:17     24    Q. When you got back from Mexico, how were you paid?
11:33:20     25    A. Cash.
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11:33:21       1   Q. And what -- and at what types of amounts?
11:33:25       2   A. It depended. It depended basically on what I took, you
11:33:32       3   know, so it could have been anywhere from two to twenty.
11:33:36       4   Q. Was that still a hundred dollars per kilogram --
11:33:40       5   A. Yes, yes.
11:33:40       6   Q. -- of cocaine?
11:33:41       7   A. Yes, yes.
11:33:42       8   Q. And was that still just based on cocaine you were
11:33:44       9   delivering?
11:33:45     10    A. Yes.
11:33:45     11    Q. In total the entire time you worked for the Flores
11:33:48     12    brothers, how much cocaine did you deliver to customers?
11:33:51     13    A. Roughly I estimated at -- I want to say nine tons.
11:33:57     14    Q. And in total how much money did you earn approximately
11:34:00     15    during the entire time you worked for the Flores brothers?
11:34:03     16    A. Roughly about $900,000.
11:34:05     17    Q. Around what date did you stop working for the Flores
11:34:09     18    brothers?
11:34:09     19    A. December of '08.
11:34:11     20    Q. Looking around this courtroom, can you identify any
11:34:16     21    customer of the Flores brothers with whom you met?
11:34:17     22    A. Yes.
11:34:18     23    Q. And could you please identify him by an article of
11:34:21     24    clothing that he's wearing?
11:34:23     25    A. Black, black or Navy suit.
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11:34:25       1               MS. GUREN: May the record reflect the witness has
11:34:27       2   identified the defendant?
11:34:29       3               THE COURT: Well, I think he needs a little bit more
11:34:31       4   of a description than that, please.
11:34:32       5               THE WITNESS: Oh, okay. Well, the bald gentleman
11:34:35       6   that's standing next to an attorney, an African-American,
11:34:41       7   semi-goatee, like me.
11:34:42       8               THE COURT: Okay.
11:34:43       9               THE WITNESS: And I'm not sure, like I said, the
11:34:44     10    color, it could be black or it could be Navy blue.
11:34:47     11                THE COURT: Okay. I didn't want you to be
11:34:48     12    identified, Mr. Rubino, for the record.
11:34:51     13                So the record will reflect the defendant is
11:34:53     14    identified.
11:34:54     15                (Laughter.)
11:34:55     16                MS. GUREN: I didn't notice that they were wearing
11:34:57     17    the same color.
11:34:58     18                THE COURT: Right.
11:34:59     19    BY MS. GUREN:
11:34:59     20    Q. What did you know the defendant -- what name did you know
11:35:02     21    the defendant by?
11:35:03     22    A. Ron Ron.
11:35:04     23    Q. Were there any other customers of the Flores brothers that
11:35:07     24    used the nickname Ron Ron?
11:35:09     25    A. No.
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11:35:09       1   Q. When did you first meet Ron Ron in person?
11:35:12       2   A. In person?
11:35:13       3   Q. Yes.
11:35:14       4   A. Roughly the fall of '06.
11:35:19       5   Q. Where was that?
11:35:20       6   A. Outback.
11:35:21       7   Q. Is that -- what neighborhood or area?
11:35:24       8   A. Well, Outback is a steakhouse. It's in -- the one that we
11:35:30       9   went to was somewhere in the south suburbs in the hundreds.
11:35:34     10    Q. Now, prior to that fall 2006 at the Outback Steakhouse,
11:35:39     11    did you ever meet the defendant in person before?
11:35:41     12    A. No.
11:35:42     13    Q. While you were in Mexico, did you ever see the name Ron
11:35:46     14    Ron?
11:35:46     15    A. Yes.
11:35:46     16    Q. Where did you see it?
11:35:47     17    A. On the phone, on the back of the phone.
11:35:49     18    Q. And when you say on the back of the phones --
11:35:52     19    A. The stickers, you know, that we used to identify the
11:35:55     20    people, because that was -- like I said, there was so many
11:35:58     21    phones.
11:35:58     22    Q. Did you ever see a phone that had a sticker on the back of
11:36:01     23    it that said Ron Ron ring?
11:36:02     24    A. Excuse me. What was that?
11:36:03     25    Q. Did you ever see one of the phones that had a sticker on
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11:36:06       1   the back that Ron Ron ring while --
11:36:08       2   A. Ron Ron ring?
11:36:09       3   Q. Did the phone ever ring?
11:36:10       4   A. Oh, yeah, yeah, yeah.
11:36:12       5   Q. I think I made a tongue twister.
11:36:14       6               Did you ever answer that phone when it rang?
11:36:17       7   A. Yes.
11:36:17       8   Q. What would you do after you answered the phone?
11:36:21       9   A. Well, basically everybody --
11:36:22     10    Q. And I just want to stop you, because I don't want you to
11:36:25     11    get into any conversation you had on the phone. I just want
11:36:27     12    to know what you did with the phone after it rang and you
11:36:31     13    answered it?
11:36:31     14    A. Basically, whoever was calling them would know -- my voice
11:36:35     15    and their voices are totally different, so they would know
11:36:38     16    that someone else was answering. So basically the thing would
11:36:42     17    go like this --
11:36:43     18    Q. And, again, I want to stop you, because you're starting to
11:36:46     19    get into the conversation.
11:36:48     20    A. Oh.
11:36:48     21    Q. I want to know what action you took?
11:36:52     22    A. Oh, none. I just would pass them the phone.
11:36:54     23    Q. Who did you pass the phone to?
11:36:56     24    A. One of the brothers, either Peter or Junior.
11:36:59     25    Q. Turning to the first time in 2007 when you met the
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11:37:00       1   defendant at that Outback Steakhouse, who, if anyone, was with
11:37:03       2   you?
11:37:03       3   A. Cesar Perez.
11:37:05       4   Q. Why were you meeting the defendant there?
11:37:07       5   A. Perez was going to drop him off some coke.
11:37:09       6   Q. Do you know how much coke?
11:37:12       7   A. No, no.
11:37:15       8   Q. And did you know -- did you see the cocaine yourself?
11:37:19       9   A. No.
11:37:19     10    Q. How did you know that you were bringing cocaine?
11:37:23     11    A. Perez told me, so I wouldn't smoke on the way there.
11:37:26     12    Q. And when you say you wouldn't smoke --
11:37:28     13    A. Marijuana, marijuana.
11:37:29     14    Q. So you weren't smoking that day -- or at that time?
11:37:32     15    A. No, no -- well, I was always smoking, but when we were
11:37:37     16    dropping off, no, no, no, no, no.
11:37:40     17    Q. Were you aware of which cars that the Flores brothers'
11:37:43     18    employees used had hidden compartments or traps?
11:37:47     19    A. Roughly all of them did.
11:37:48     20    Q. Did the car that you were driving that day have any
11:37:53     21    compartment or trap?
11:37:53     22    A. I wasn't driving it. Perez was, but it had a trap.
11:37:55     23    Q. Were you in the passenger seat?
11:37:56     24    A. Yes, ma'am.
11:37:57     25    Q. Did you see -- and you already testified you hadn't seen
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11:38:00       1   the defendant before in person. But did you see him at all in
11:38:03       2   the parking lot when you arrived?
11:38:04       3   A. No, not in the parking lot.
11:38:06       4   Q. Once in the parking lot, did you get any directions from
11:38:09       5   the Flores brothers?
11:38:10       6   A. Yes, to go inside.
11:38:11       7   Q. And how did you hear those directions?
11:38:13       8   A. On the chirp, on the chirp. I want to say Perez had it
11:38:18       9   on -- not speaker, you know -- well, yes, sorry, speaker, so
11:38:23     10    that everybody could hear.
11:38:24     11    Q. And is that what you're saying when you say chirp phone?
11:38:27     12    A. Yes, it was a boost.
11:38:30     13    Q. Can you describe what a chirp phone is?
11:38:31     14    A. It's basically a two-way.
11:38:33     15    Q. Is that like a two-way walkie-talkie-type thing?
11:38:37     16    A. Yes, yes.
11:38:37     17    Q. Where did you and Perez go?
11:38:39     18    A. Inside the restaurant.
11:38:40     19    Q. Where did you see Perez go specifically inside the
11:38:43     20    restaurant?
11:38:43     21    A. Perez went and looked for the customer. I went to the
11:38:48     22    bar.
11:38:48     23    Q. What did you do once you were at the bar?
11:38:51     24    A. Ordered a beer.
11:38:52     25    Q. What, if anything, did you see while you were at the bar?
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11:38:54       1   A. Oh, I cased the establishment, of course, you know, just
11:38:57       2   to make sure that no law enforcement's there. And as I was
11:39:01       3   casing the establishment, the defendant caught my attention.
11:39:05       4   Q. Why did the defendant catch your attention, if you had
11:39:07       5   never seen him before?
11:39:08       6   A. Diamonds.
11:39:09       7   Q. Diamonds where?
11:39:10       8   A. Earring, earring and his chain. He had a -- I want to say
11:39:15       9   he had a big cross or -- see, he had some kind of a
11:39:19     10    distinguishable piece.
11:39:21     11    Q. Where did you see him specifically?
11:39:23     12    A. Roughly 45 degrees from me, so roughly like -- kind of
11:39:27     13    like this.
11:39:28     14    Q. And what was he doing?
11:39:29     15    A. Eating.
11:39:30     16    Q. Was he eating alone?
11:39:32     17    A. No.
11:39:32     18    Q. Who was he with?
11:39:33     19    A. I don't know, maybe family, friends, don't know.
11:39:36     20    Q. And I'm not asking you to guess who he was with, just how
11:39:39     21    many people?
11:39:39     22    A. I want to say it was -- they were in a booth, so I want to
11:39:43     23    say the booth was full, so it could have been four.
11:39:49     24    Q. When you noticed this person -- well, first of all, did
11:39:54     25    you end up talking to Perez inside that Outback steakhouse?
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11:39:59       1   A. Yeah, yeah. He -- when he went and looked -- well, when
11:39:59       2   he went around to -- looking for him, he didn't find him, he
11:40:02       3   went into the restroom. He came back. He's like, Man, I
11:40:05       4   can't find him. I was like, Is that dude right there? And I
11:40:08       5   pointed slightly, you know -- you know, like, you know, like,
11:40:12       6   Is that the dude right there? And he's like, Where? And I
11:40:16       7   was like, Right there. And he's like, How the fuck you know?
11:40:19       8   I'm sorry. Sorry, sorry, sorry.
11:40:20       9               But he is like, How do you know? And I was like,
11:40:24     10    Look, look at the jewelry, you know, it's kind of obvious.
11:40:27     11    Q. And so once you pointed this out to Perez, what, if
11:40:31     12    anything, did you see Perez do?
11:40:32     13    A. Oh, he -- he made a straight line. They exchanged keys
11:40:38     14    and we left.
11:40:39     15    Q. And what -- when you say you left, how did you leave?
11:40:42     16    A. We left in whatever car, I want to say, the defendant was
11:40:47     17    driving. We switched cars. Sometimes we would switch cars
11:40:51     18    when we're -- when we're, you know, giving drugs.
11:40:54     19    Q. What did you do with the car -- or what did Perez do with
11:40:58     20    the car that you were in?
11:40:59     21    A. Nothing from -- well, what I recall, we just drove back to
11:41:02     22    the city. He dropped me off, and he did whatever the twins
11:41:05     23    advised him to do.
11:41:07     24    Q. So were you not there -- were you ever present when Perez
11:41:10     25    gave the car back this time?
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11:41:12       1   A. When he -- no, no, no, no.
11:41:14       2   Q. Did you ever deliver cocaine to the defendant on your own?
11:41:17       3   A. No.
11:41:17       4   Q. Did you ever go with for any other cocaine deliveries to
11:41:20       5   the defendant, besides for that one time?
11:41:22       6   A. That I recall, no.
11:41:23       7   Q. Were there other times that you saw the defendant?
11:41:26       8   A. Yes, a couple times.
11:41:27       9   Q. For what purposes?
11:41:29     10    A. To get -- a couple times to drop him off a phone. One
11:41:35     11    time specifically to give him the phone code for himself.
11:41:39     12    Another time -- a couple other times he gave me money. And
11:41:43     13    then the last time that I seen the defendant, I believe was
11:41:50     14    when I returned his MKX that he had given them to track.
11:41:54     15    Q. And we're going to slowly work down that list?
11:41:57     16    A. Okay.
11:41:57     17    Q. The first thing I want to focus on is the money.
11:42:00     18                You said that you picked up payments from him?
11:42:02     19    A. Yes.
11:42:03     20    Q. About how many times did you pick up payments from him?
11:42:05     21    A. That I recall, it was a couple times, no more than five.
11:42:11     22    Q. When was the first time?
11:42:13     23    A. Sometime in '07.
11:42:15     24    Q. Do you remember if it was late or early '07 or middle '07?
11:42:21     25    A. No, not exactly. It was just '07.
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11:42:24       1   Q. Where did you meet --
11:42:25       2   A. You know what? It was summertime. One time I know -- I
11:42:28       3   know once was in the summer, and then the other time it had
11:42:32       4   been cold, because it could have been fall or it could have
11:42:35       5   been early spring, so -- but we were wearing coats.
11:42:38       6   Q. Where did you meet the defendant the first time that you
11:42:42       7   picked up money from him?
11:42:44       8   A. By the buildings right off -- right off the lakeshore,
11:42:52       9   right off like Prairie and 13th, which is like right off of
11:42:56     10    Lakeshore and Roosevelt.
11:42:58     11                MS. GUREN: At this time I'm going to hand you
11:43:01     12    Government Exhibit Photo 10 and Government Exhibit Photo 12.
11:43:05     13                THE WITNESS: Okay.
11:43:05     14                MS. GUREN: And I'll direct your attention to each
11:43:08     15    one at a time.
11:43:09     16                THE WITNESS: Okay.
11:43:10     17    BY MS. GUREN:
11:43:15     18    Q. And you can also look at your screen that's next to you --
11:43:18     19    A. Okay.
11:43:19     20    Q. -- if that would be easier.
11:43:20     21                At this time I want to show you Government Exhibit
11:43:23     22    Photo 12. Do you recognize that?
11:43:26     23    A. Yeah. That's roughly the area where -- where I seen the
11:43:29     24    gentleman.
11:43:30     25    Q. And I know that it's an aerial view, but is that a fair
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11:43:33       1   and accurate representation --
11:43:34       2   A. Yes.
11:43:34       3   Q. -- of what that area looks like?
11:43:36       4   A. Yes.
11:43:37       5               MS. GUREN: At this time we would move Government
11:43:40       6   Exhibit Photo 12 into evidence.
11:43:40       7               THE COURT: Okay. It will be admitted.
11:43:41       8               MS. GUREN: May we have permission to publish?
11:43:43       9               THE COURT: Sure.
11:43:44     10    BY MS. GUREN:
11:43:44     11    Q. Looking at this area, can you describe for me, using the
11:43:48     12    street names that are there, where you would meet the
11:43:52     13    defendant or where you met the defendant that first time?
11:43:55     14    A. Roughly I met him at the same place, the times, which was
11:44:00     15    like right where the buildings are. You see -- see where it
11:44:04     16    says South Prairie and then it goes Avenue? Well, right in
11:44:08     17    front of where it says the words [sic] Prairie, I want to say
11:44:11     18    there's townhouses right there, and that's where it would have
11:44:16     19    been.
11:44:16     20    Q. And tell me if this is accurate. If I draw this box right
11:44:19     21    here?
11:44:20     22    A. Yeah.
11:44:20     23    Q. Is that where you met him?
11:44:21     24    A. Yeah, yeah, yeah, because right down there is, like I
11:44:25     25    said, the townhouses are.
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11:44:27       1               MS. GUREN: And just for the record, I've drawn in a
11:44:30       2   box around the word Prairie on the exhibit, Government
11:44:33       3   Exhibit 12.
11:44:33       4               THE WITNESS: Yes.
11:44:34       5   BY MS. GUREN:
11:44:36       6   Q. Now, I'm going to just turn your attention to Government
11:44:39       7   Exhibit Photo 10 --
11:44:40       8   A. Okay.
11:44:40       9   Q. -- which has already been admitted into evidence.
11:44:43     10                Your Honor, may we have permission to publish
11:44:45     11    Government Exhibit Photo 10?
11:44:46     12                THE COURT: You may.
11:44:47     13    BY MS. GUREN:
11:44:49     14    Q. Do you recognize that?
11:44:50     15    A. Yeah.
11:44:50     16    Q. What is that?
11:44:51     17    A. That's one of the buildings. The -- that building and the
11:44:56     18    building across the street was where the defendant lived, in
11:45:00     19    one of the two buildings.
11:45:01     20    Q. Do you know if the defendant lived there or if that's
11:45:04     21    where you met him?
11:45:05     22    A. Well, that's where I met him, but -- well, hearsay from
11:45:09     23    other people that lived --
11:45:10     24    Q. Yeah, I don't want to get into hearsay.
11:45:12     25    A. Okay.
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11:45:12       1   Q. Do you have any personal knowledge of what the defendant's
11:45:17       2   relationship was with those buildings, from your own --
11:45:20       3   A. From my personal experience, he had to have lived in one
11:45:22       4   of the two buildings.
11:45:23       5   Q. And then -- again, I understand that that's your
11:45:26       6   assumption.
11:45:27       7   A. Yes.
11:45:27       8   Q. But did you understand -- what did you personally observe
11:45:32       9   about the defendant and those buildings?
11:45:35     10    A. Well, he'd bring money or something.
11:45:37     11    Q. Did you ever see him leaving those buildings?
11:45:39     12    A. I want to say I observed him coming from this area,
11:45:45     13    because there's another building like right across the street
11:45:47     14    from this one, not to -- not where Prairie's at, where 13th
11:45:51     15    is, where East 13th Street is, there's another building across
11:45:54     16    the street. So I want to say I seen him coming out of either
11:45:57     17    maybe this building or the other building.
11:45:59     18    Q. Okay. Did you --
11:46:00     19    A. But I don't recall which one exactly.
11:46:02     20    Q. Okay. So you had seen him coming out of a building in
11:46:04     21    that area?
11:46:04     22    A. Yes, yes.
11:46:05     23    Q. Did you ever go inside the building up to a --
11:46:08     24    A. No, no.
11:46:08     25    Q. -- or up to an apartment?
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11:46:10       1   A. No, no, no.
11:46:11       2   Q. How did you know to meet him in this area?
11:46:13       3   A. The brothers.
11:46:14       4   Q. How did the brothers tell you this?
11:46:16       5   A. Phone.
11:46:18       6   Q. And just to clarify, did you ever talk directly to the
11:46:20       7   defendant on the phone, when you were delivering and picking
11:46:25       8   up money?
11:46:25       9   A. No, no, no. It was whatever, whatever, whoever --
11:46:29     10    whatever and whoever it was, it was always directed through
11:46:31     11    them.
11:46:32     12    Q. When you first arrived that first time on 13th Street and
11:46:35     13    Prairie?
11:46:36     14    A. Yes.
11:46:36     15    Q. Or on Prairie, I guess, specifically, what did you see?
11:46:39     16    A. What do you mean what did I see?
11:46:41     17    Q. What, if anything, did you see? Was the defendant there?
11:46:43     18    A. Yeah, yeah.
11:46:44     19    Q. How did -- what did you see specifically?
11:46:47     20    A. Just the gentleman walking up to my car.
11:46:51     21    Q. When you say gentleman --
11:46:52     22    A. Well, truck, the defendant walking up to my truck.
11:46:56     23    Q. What, if anything, was he carrying?
11:46:58     24    A. Well, on the multiple occasions he gave me money.
11:47:04     25    Q. And I'm just talking about this first occasion.
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11:47:06       1   A. Oh.
11:47:07       2   Q. What was the defendant carrying?
11:47:09       3   A. The first time, I want to say, he gave me five figures,
11:47:14       4   money, a black duffle bag.
11:47:16       5   Q. Did the defendant say anything to you this first time you
11:47:19       6   were picking up money?
11:47:20       7   A. No. He just said, It's for dude, meaning the brothers.
11:47:24       8   Q. What, if anything -- did -- did you look inside the bag at
11:47:28       9   all?
11:47:28     10    A. Yes, money.
11:47:30     11    Q. How did he hand the bag to you?
11:47:32     12    A. Just like --
11:47:33     13    Q. Or did he hand the bag to you?
11:47:34     14    A. No, actually, no. He just threw it in the -- in the back
11:47:38     15    seat of the truck.
11:47:41     16    Q. And you looked inside the bag?
11:47:43     17    A. Yes.
11:47:43     18    Q. Can you describe how the money was?
11:47:45     19    A. Sloppily thousands.
11:47:47     20    Q. When did you look inside the bag?
11:47:51     21    A. Well, after he left but before I left, because I had to
11:47:56     22    trap it.
11:47:56     23    Q. When you say trap it, what does that mean?
11:47:58     24    A. Stash it.
11:47:59     25    Q. Stash it where?
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11:48:00       1   A. In the trap in the car.
11:48:05       2   Q. Did you end up counting the money at any point?
11:48:09       3   A. Yeah. I want to say a couple hours afterwards.
11:48:11       4   Q. Where did you count the money?
11:48:13       5   A. Whatever, whatever place they directed me to, the Flores
11:48:17       6   brothers.
11:48:17       7   Q. And when you say whatever place, what type of place?
11:48:19       8   A. A stash house.
11:48:20       9   Q. To the best of your recollection, do you remember how much
11:48:23     10    was in there?
11:48:23     11    A. The first time, I want to say, it was five figures.
11:48:26     12    Q. Did you meet the defendant any other time to pick up
11:48:29     13    money?
11:48:29     14    A. Yeah. I met him again at the previous picture, what was
11:48:33     15    it, 10 or 12?
11:48:35     16    Q. And --
11:48:36     17    A. And by the townhouses to give him a phone and to give him
11:48:40     18    his code.
11:48:41     19    Q. And I actually was asking if you met the defendant -- and
11:48:44     20    I apologize, because I don't think I was specific enough in my
11:48:47     21    question.
11:48:47     22                Did you meet the defendant any other time to pick up
11:48:50     23    money from?
11:48:51     24    A. Oh, yeah, yeah, yeah, they sent me.
11:48:53     25    Q. When was that approximately?
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11:48:55       1   A. Within a couple months of this one.
11:48:57       2   Q. Where did you meet the defendant --
11:48:58       3   A. Same place, same place. But like I said, on the other
11:49:01       4   picture where you drew the box.
11:49:04       5   Q. And I'm going to put this other picture on the screen, if
11:49:07       6   I can. May I have permission to publish Government Exhibit --
11:49:10       7               THE COURT: You may.
11:49:12       8               MS. GUREN: Photo 12?
11:49:13       9   BY MS. GUREN:
11:49:14     10    Q. So -- just so you don't have to refer to something that's
11:49:18     11    not on your screen --
11:49:18     12    A. Yes.
11:49:18     13    Q. -- say again where --
11:49:19     14    A. Roughly where you have the box, there's townhouses right
11:49:23     15    there.
11:49:23     16    Q. Oh?
11:49:25     17                And this second time when you arrived to the area,
11:49:28     18    did you see the defendant?
11:49:29     19    A. Yes.
11:49:30     20    Q. And how did you know to meet the defendant when you were
11:49:34     21    going here?
11:49:35     22    A. The brothers directed me.
11:49:37     23    Q. When you saw the defendant, what happened?
11:49:40     24    A. He came into my car, threw the duffle bag in the same
11:49:44     25    place, you know, just right over the back, and that was it.
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11:49:46       1   Q. Did the defendant say anything to you at the time?
11:49:48       2   A. Not -- no, not to my recollection.
11:49:51       3   Q. What did you do next?
11:49:52       4   A. Trapped the money.
11:49:54       5   Q. When you say trapped the money, what do you mean?
11:49:58       6   A. Stash it, you know, put it in the concealed compartment.
11:49:59       7   Q. When you did that, did you see the money?
11:50:01       8   A. Yes.
11:50:01       9   Q. How was it packaged?
11:50:02     10    A. Same way, sloppily thousands.
11:50:05     11    Q. At that time did you count the money?
11:50:07     12    A. Not then, but roughly a couple hours later.
11:50:10     13    Q. Where did you take the money to?
11:50:12     14    A. Whatever predetermined stash house they wanted me to go
11:50:15     15    to.
11:50:15     16    Q. Do you remember how much you counted the money for this
11:50:18     17    time?
11:50:18     18    A. I want to say this time was seven figures.
11:50:21     19    Q. Seven figures?
11:50:22     20    A. Yes -- no, no, no. Sorry, sorry, sorry. Six figures. I
11:50:25     21    jumped one too many.
11:50:26     22    Q. First five figures. This time six figures?
11:50:30     23    A. Yes, yes, yes, yes, yes.
11:50:31     24    Q. Do you remember the next time you met the defendant to
11:50:35     25    pick up money?
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11:50:36       1   A. Money, no. Like I said, I could have picked up the money
11:50:39       2   five times from him. But that I recall -- and I'm being
11:50:42       3   truthful -- is them couple of times and then the phones.
11:50:45       4   Q. And talking about the phones, how often did you meet the
11:50:48       5   defendant --
11:50:49       6   A. I want to say I gave him two phones.
11:50:51       7   Q. Two phones?
11:50:52       8   A. Yeah.
11:50:53       9   Q. Where would you meet him to give --
11:50:55     10    A. On Prairie.
11:50:56     11    Q. Same location?
11:50:57     12    A. Yes.
11:50:58     13    Q. At whose direction did you drop off those phones to the
11:51:01     14    defendant?
11:51:02     15    A. That would have had to have been Pedro.
11:51:05     16    Q. Would you have dropped off the phones, if you hadn't been
11:51:08     17    instructed to do so?
11:51:09     18    A. No. Because there's no way I would have even been able to
11:51:11     19    get ahold of dude.
11:51:12     20    Q. When you say dude what --
11:51:14     21    A. The defendant.
11:51:15     22    Q. You also mentioned at -- when you were talking previously
11:51:18     23    that there was one last time that you saw the defendant?
11:51:21     24    A. Yes.
11:51:21     25    Q. When was that?
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11:51:23    1   A. Well, this ain't the last time, because, remember, the
11:51:26    2   last time was when I gave him back the truck.
11:51:29    3   Q. Okay. So the second-to-last time.
11:51:31    4   A. Yes, yes, yes. This would have been to drop off a phone
11:51:34    5   and to give him his code.
11:51:35    6   Q. To give him his what?
11:51:37    7   A. His phone and his code.
11:51:38    8   Q. And his code?
11:51:40    9   A. Yes.
11:51:40   10   Q. And referring to that car, when did you deal with the
11:51:42   11   defendant and the car?
11:51:43   12   A. In the car? Well, in '08 was when he gave me the car.
11:51:49   13   Q. Okay. So --
11:51:50   14   A. In the summertime.
11:51:51   15   Q. So tell me about that very first time. How did you
11:51:54   16   know -- what did the -- what did you meet the defendant for
11:51:57   17   when the defendant gave you his car?
11:51:58   18   A. Oh. Pedro instructed me to go meet the defendant to go --
11:52:03   19   just he was going to give me his car, so it could get trapped,
11:52:07   20   so that whoever would install the traps for the Flores DTO was
11:52:13   21   going to install his trap in his car.
11:52:16   22   Q. When did you meet the defendant?
11:52:17   23   A. Summer of '08.
11:52:18   24   Q. Was anyone with you when you met the defendant?
11:52:20   25   A. Yes. I want to say it was Monkey, Hector.
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11:52:26    1   Q. What was Monkey's job?
11:52:27    2   A. To assist me, you know, to assist these guys.
11:52:31    3   Q. Who are these guys?
11:52:32    4   A. The Flores brothers.
11:52:35    5   Q. Where did you meet the defendant to pick up this car?
11:52:38    6   A. I want to say on Prairie, right there, right by the --
11:52:42    7   that one, I want to say, it's right in front of the
11:52:45    8   townhouses.
11:52:47    9   Q. What did you do -- what, if anything, did the defendant
11:52:50   10   say to you?
11:52:51   11   A. Take care of his car.
11:52:53   12   Q. Did he say that?
11:52:54   13   A. Yeah. He's like, Man, make sure they don't F it up.
11:52:58   14   Q. What, if anything, did you do with his car?
11:53:01   15   A. Nothing really. I just parked it at different garages
11:53:07   16   'til they are ready for the trap guy to install.
11:53:09   17   Q. Do you know whether or not a trap was ever installed?
11:53:12   18   A. No, no, no. We wound up giving him the car back a couple
11:53:15   19   months later.
11:53:16   20   Q. Were you the one that actually gave him the car back?
11:53:18   21   A. Yes, yes.
11:53:19   22   Q. When was that?
11:53:20   23   A. I want to say that was in September of -- of '08.
11:53:26   24   Q. What kind of car was it?
11:53:28   25   A. A Lincoln MKX, a black one. I want to say it was an '08
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11:53:33    1   or an '07 at that -- but I want to say it was an '08, because
11:53:37    2   if my memory serves correct, it had less than -- less than
11:53:41    3   500 miles. It was like a brand new car, really brand new.
11:53:45    4              MS. GUREN: May I have a moment, your Honor?
11:53:47    5              THE COURT: You may.
11:53:56    6   BY MS. GUREN:
11:53:59    7   Q. Now, you knew Cesar Perez through this?
11:54:01    8   A. Yes.
11:54:01    9   Q. Did you also know Antonio Aguilera?
11:54:04   10   A. Yes.
11:54:04   11   Q. Did you also know Danny Torres?
11:54:07   12   A. Yes.
11:54:07   13   Q. Did you ever discuss your testimony today here with any of
11:54:09   14   them?
11:54:09   15   A. Oh, no.
11:54:12   16              MS. GUREN: No further questions.
11:54:13   17              THE COURT: Okay. You know, folks. You haven't had
11:54:16   18   a morning break, and I have a noontime meeting today, so let's
11:54:19   19   take our lunch break now and come back at 1:00 o'clock. Okay.
11:54:27   20              (The jury leaves the courtroom.)
11:54:27   21              THE COURT: Sir, since you're on cross, you cannot
11:54:29   22   talk with the attorneys for the Government on your lunch
11:54:33   23   break.
11:54:34   24              THE WITNESS: So I just go away on my own?
11:54:37   25              THE COURT: You cannot talk to them during your lunch
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11:54:39    1   break about the testimony.
11:54:40    2              THE WITNESS: Yeah, yeah. So I can just go on my
11:54:42    3   own?
11:54:42    4              THE COURT: So you can talk to them about anything
11:54:44    5   else, but your testimony.
11:54:45    6              THE WITNESS: Okay. Ma'am, can I give them back
11:54:47    7   their things?
11:54:48    8              THE COURT: Sure, you can.
11:55:06    9              (Witness leaves the stand.)
           10              (Lunch recess taken at 11:55 a.m.)
           11                                      - - -
           12
           13
           14
           15                             C E R T I F I C A T E
           16
           17      I certify that the foregoing is a correct transcript from
           18   the record of proceedings in the above-entitled matter.
           19
           20   /s/April M. Metzler, RPR, CRR, FCRR            June 2, 2011
           21   April M. Metzler, RPR, CRR, FCRR               Date
           22   Official Federal Court Reporter
           23
           24
           25
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